           Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                               Page 1 of 100
 Fill in this information to identify the case:

 Debtor name         FoodServiceWarehouse.com, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF LOUISIANA

 Case number (if known)             16-11179
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Financial Pacific Leasing,
 2.1                                                  Describe debtor's property that is subject to a lien                          $0.00                    $0.00
       LLC
       Creditor's Name                                Financial Pacific Leasing, LLC's collateral
       P. O. Box 4568
       Federal Way, WA
       98063-4568
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   IberiaBank                                     Describe debtor's property that is subject to a lien               $3,400,000.00             $8,671,833.65
       Creditor's Name                                Inventory - See 7 part attachment. Value listed
       Commercial Lending New                         is cost paid for goods.
       Orleans
       601 Poydas St., Ste. 2075
       New Orleans, LA 70130
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                      E and F
                                              Page 2 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                            Case number (if know)   16-11179
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       ITW Food Equipment Group,
 2.3                                                                                                                             $0.00           $0.00
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                All ITW equipment
       2006 Norwestern Parkway
       Louisville, KY 40203
       Creditor's mailing address                     Describe the lien
                                                      UCC # U167498
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/8/2015                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   PMP Capital, LLC                               Describe debtor's property that is subject to a lien                       $0.00           $0.00
       Creditor's Name                                PMP Capital, LLC's collateral
       826 Focis Street
       Metairie, LA 70005
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Pride Marketing &
 2.5                                                                                                                             $0.00           $0.00
       Procurements, Inc.                             Describe debtor's property that is subject to a lien
       Creditor's Name                                90 days or less: Accounts secured by Pride
                                                      Marketing & Procedurements, Inc.
       826 Focis Street
       Metairie, LA 70005
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                          E and F
                                              Page 3 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                            Case number (if know)       16-11179
              Name

        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Pride Marketing &
 2.6                                                  Describe debtor's property that is subject to a lien               $20,000,000.00       $6,274,333.00
        Procurements, Inc.
        Creditor's Name                               90 days or less: Misc. Receivables, mostly
                                                      rebates
        826 Focus Street
        Metairie, LA 70005
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                        Disputed




 2.7    Raymond Leasing Corp.                         Describe debtor's property that is subject to a lien                           $0.00             $0.00
        Creditor's Name                               All material handling equipment and associated
                                                      accessories
        P. O. Box 130
        Greene, NY 13778-0130
        Creditor's mailing address                    Describe the lien
                                                      UCC-1 - Lease
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        6/22/2015                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $23,400,000.

Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
           Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                             E and F
                                               Page 4 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                      Case number (if know)         16-11179
              Name

                                                                                                                                      00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                                    E and F
                                               Page 5 of 100
 Fill in this information to identify the case:

 Debtor name         FoodServiceWarehouse.com, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF LOUISIANA

 Case number (if known)           16-11179
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,620.69
           10 Strawberry Street                                                 Contingent
           3837 Monaco Pkwy                                                     Unliquidated
           Denver, CO 80207                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $28,058.02
           1st Choice Restaurant Equipment                                      Contingent
           PO Box 782547                                                        Unliquidated
           San Antonio, TX 78278                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $906.59
           3 Wire Restaurant Appliance                                          Contingent
           22322 20th Ave Se Ste 150                                            Unliquidated
           Bothell, WA 98021                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,398.55
           3wire Group Inc                                                      Contingent
           Nw7964 Box 1450                                                      Unliquidated
           Minneapolis, MN 55485-7964                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                         24822                                            Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                              Page 6 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $508.43
          A-tex Restaurant Supply                                               Contingent
          2008 South Bryant                                                     Unliquidated
          San Angelo, TX 76903                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,085.31
          A. M. I. Contract Foodservice                                         Contingent
          112 Nod Rd Ste 11                                                     Unliquidated
          Clinton, CT 06413                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $575.00
          AAA Cooper Transportation                                             Contingent
          PO Box 935003                                                         Unliquidated
          Atlanta, GA 31193-5003                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,157.28
          AAA Furniture Wholesale                                               Contingent
          10300 Westpark Dr                                                     Unliquidated
          Houston, TX 77042                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $157.25
          Aardvark                                                              Contingent
          Precision Products Group Inc                                          Unliquidated
          PO Box 80400                                                          Disputed
          Fort Wayne, IN 46898-0400
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $163,382.17
          ABF Freight System Inc                                                Contingent
          4209 Gardner Ave                                                      Unliquidated
          Kansas City, MO 64120-1831                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,025.80
          Ac Furniture Company Inc                                              Contingent
          PO Box 200                                                            Unliquidated
          Axton, VA 24054                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                              Page 7 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,765.01
          Accellos                                                              Contingent
          Dept Ch 16991                                                         Unliquidated
          Palatine, IL 60055-6691                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,066.29
          Accountemps                                                           Contingent
          PO Box 743295                                                         Unliquidated
          Los Angeles, CA 90074-3295                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $33,594.25
          Accutemp                                                              Contingent
          PO Box 10090                                                          Unliquidated
          Fort Wayne, IN 46850                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $15,666.40
          Acorn Products Inc                                                    Contingent
          PO Box 461                                                            Unliquidated
          Liberty, MO 64069-0461                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Ad Graphics                                                           Contingent
          413 Commerce Pt                                                       Unliquidated
          Harahan, LA 70123                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,954.28
          Adams County Treasurer                                                Contingent
          PO Box 869                                                            Unliquidated
          Brighton, CO 80601-0869                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,083.52
          Adm Warehouse                                                         Contingent
          1281 Franquette Ave                                                   Unliquidated
          Concord, CA 94520                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                              Page 8 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $82,402.86
          Admiral Craft                                                         Contingent
          PO Box 9014                                                           Unliquidated
          Hicksville, NY 11802-9014                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $120,410.56
          Advance Tabco                                                         Contingent
          200 Hearland Blvd                                                     Unliquidated
          Edgewood, NY 11717-8380                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,181.40
          Advantage Crating And Supply                                          Contingent
          19401 E 23rd Ave                                                      Unliquidated
          Aurora, CO 80011                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $52,598.00
          Aerowerks Inc                                                         Contingent
          6625 Millcreek Dr, Mississauga, ON L5N 5                              Unliquidated
          CANADA                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $261.00
          Affordable Pallet                                                     Contingent
          650 Knox Rd                                                           Unliquidated
          Jefferson, LA 70121                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $142.40
          Afs Llc                                                               Contingent
          PO Box 1986                                                           Unliquidated
          Shreveport, LA 71166                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,144.50
          Agellan Commercial Reit Us Lp                                         Contingent
          Trinity Partners Management                                           Unliquidated
          440 South Church St Ste 800                                           Disputed
          Charlotte, NC 28202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 4 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                              Page 9 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $139.31
          Aimco Equipment Company Llc                                           Contingent
          10001 Colonel Glenn Rd                                                Unliquidated
          Little Rock, AR 72204-8135                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $176.39
          Airtech Commercial Refrigeration                                      Contingent
          PO Box 1114                                                           Unliquidated
          Fayetteville, NC 28302                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,791.60
          Aj Antunes And Co                                                     Contingent
          28262 Network Pl                                                      Unliquidated
          Chicago, IL 60673-1282                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,800.00
          Akrit Commercial Refrigeration                                        Contingent
          10710 West Scharles Ave                                               Unliquidated
          Hales Corners, WI 53130                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,257.13
          Alamo Refrigeration                                                   Contingent
          631 N W W White Rd                                                    Unliquidated
          San Antonio, TX 78219                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,690.27
          Alfa International                                                    Contingent
          4 Kaysal Court                                                        Unliquidated
          Armonk, NY 10504                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,485.84
          All Things Restaurant Inc                                             Contingent
          1814 River Rd Ste 400                                                 Unliquidated
          Huron, OH 44839                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 5 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 10 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,493.60
          All Ways Advertising Company                                          Contingent
          1442 Broad St                                                         Unliquidated
          Bloomfield, NJ 07003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,133.00
          Allegiance Cobra Svcs Inc                                             Contingent
          PO Box 2097                                                           Unliquidated
          Missoula, MT 59806                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,420.52
          Allied Metal Spinning Corp                                            Contingent
          1290 Viele Ave                                                        Unliquidated
          Bronx, NY 10471                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,912.38
          Allpoints Foodservice Parts And Supplies                              Contingent
          607 West Dempster St                                                  Unliquidated
          Mount Prospect, IL 60056                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $213.11
          Almay                                                                 Contingent
          1808 South Cedar Ave                                                  Unliquidated
          Marshfield, WI 54449                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $566.87
          Alpine Waste And Recycling                                            Contingent
          7475 E 84th Ave                                                       Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,907.90
          Alto Shaam Inc                                                        Contingent
          Department 7028                                                       Unliquidated
          Carol Stream, IL 60122-7028                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 6 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 11 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,783.00
          American Dish Svcs                                                    Contingent
          900 Blake St                                                          Unliquidated
          Edwardsville, KS 66111-3820                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,080.00
          American Dryer                                                        Contingent
          PO Box 51160                                                          Unliquidated
          Livonia, MI 48151-5160                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $1,533,421.71
          American Express                                                      Contingent
          200 Vesey St                                                          Unliquidated
          New York, NY 10285-3106                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,181.36
          American Metalcraft                                                   Contingent
          PO Box 95703                                                          Unliquidated
          Chicago, IL 60694-5703                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $62,050.14
          American Panel                                                        Contingent
          5800 Se 78th St                                                       Unliquidated
          Ocala, FL 34472-3412                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,621.03
          American Range                                                        Contingent
          13592 Desmond St                                                      Unliquidated
          Pacoima, CA 91331                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,212.00
          American Tables And Seating Mfg                                       Contingent
          5025 C North Royal Atlanta Dr                                         Unliquidated
          Tucker, GA 30084                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 7 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 12 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,148.82
          American Trailer And Storage                                          Contingent
          6900 East 39th St                                                     Unliquidated
          Kansas City, MO 64129                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,602.19
          Andersen Company                                                      Contingent
          340 Cross Plains Blvd Se                                              Unliquidated
          Dalton, GA 30721                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,361.76
          Anetsberger Inc                                                       Contingent
          2485 Paysphere Cir                                                    Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $517.37
          Apex Foodservice                                                      Contingent
          Superior Manufacturing Group                                          Unliquidated
          PO Box 1025                                                           Disputed
          Bedford Park, IL 60499-1025
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,277.25
          Appliance Brokers Ltd                                                 Contingent
          2-b Corn Rd                                                           Unliquidated
          Dayton, NJ 08810                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $68,429.69
          Apw Wyott                                                             Contingent
          PO Box 671155                                                         Unliquidated
          Dallas, TX 75267-1155                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $850.00
          Aquamatic                                                             Contingent
          200 Mayock Rd                                                         Unliquidated
          Gilroy, CA 95020                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 8 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 13 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,108.24
          Arapahoe County Treasurer                                             Contingent
          5334 S Prince St                                                      Unliquidated
          Littleton, CO 80120-1136                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,509.00
          Arctic Air                                                            Contingent
          6440 City West Pkwy                                                   Unliquidated
          Eden Prairie, MN 55344                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $77.81
          Arizona Restaurant Supply!                                            Contingent
          6077 N Travel Center Dr                                               Unliquidated
          Tucson, AZ 85741                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $59,468.53
          Arrow Restaurant Equipment And Supplies                               Contingent
          5061 Arrow Hwy                                                        Unliquidated
          Montclair, CA 91763                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $751.57
          Ashley Inc                                                            Contingent
          PO Box 30488                                                          Unliquidated
          Myrtle Beach, SC 29588                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,919.05
          Assembled Products Corp                                               Contingent
          115 East Linden St                                                    Unliquidated
          Rogers, AR 72756                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,079.90
          Astra                                                                 Contingent
          PO Box 572140                                                         Unliquidated
          Tarzana, CA 91357                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 9 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 14 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $200.00
          Ateco                                                                 Contingent
          August Thomsen Corp                                                   Unliquidated
          36 Sea Cliff Ave                                                      Disputed
          Glen Cove, NY 11542-3635
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $24,617.18
          Atlanta Custom Fabricators                                            Contingent
          4381 Industrial Access Rd                                             Unliquidated
          Douglasville, GA 30134                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,593.82
          Atlas Metal                                                           Contingent
          1135 Nw 159th Dr                                                      Unliquidated
          Miami, FL 33169                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,160.31
          Ats Wholesale Distributors Inc                                        Contingent
          PO Box 47040                                                          Unliquidated
          Forestville, MD 20753-7040                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $720.00
          Automated Voice And Data Solutions                                    Contingent
          3100 Timmons Ln #510                                                  Unliquidated
          Houston, TX 77027                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $840.00
          Autoquotes                                                            Contingent
          8800 Baymeadows Way West Ste 500                                      Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $98,080.73
          Averitt Express                                                       Contingent
          PO Box 102197                                                         Unliquidated
          Atlanta, GA 30368-2197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 10 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 15 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,608.64
          Ayrking Corp                                                          Contingent
          2013 Cobalt Dr                                                        Unliquidated
          Louisville, KY 40299                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,184.63
          Baker Distributing Company                                            Contingent
          PO Box 848459                                                         Unliquidated
          Dallas, TX 75284-8459                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,531.88
          Bakers Pride                                                          Contingent
          PO Box 533245                                                         Unliquidated
          Charlotte, NC 28290                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $59,329.41
          Bally Refrigerated Boxes Inc                                          Contingent
          135 Little Nine Dr                                                    Unliquidated
          Morehead City, NC 28557                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $68,612.18
          Balter                                                                Contingent
          209 Bowery                                                            Unliquidated
          New York, NY 10002                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $836.36
          Bar Maid                                                              Contingent
          2950 Nw 22nd Ter                                                      Unliquidated
          Pompano Beach, FL 33069                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $22.82
          Bar Plex Inc Pride                                                    Contingent
          16 Mount Bethel Rd Ste 356                                            Unliquidated
          Warren, NJ 07059                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 11 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 16 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $839.18
          Barringer Marketing                                                   Contingent
          2655 South Santa Fe #4b                                               Unliquidated
          Denver, CO 80223                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,437.37
          Bauscher                                                              Contingent
          PO Box 80847                                                          Unliquidated
          Raleigh, NC 27623-0847                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $60.00
          Bayaud Enterprises                                                    Contingent
          Accounts Receivable                                                   Unliquidated
          333 W Bayaud Ave                                                      Disputed
          Denver, CO 80223
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,991.75
          Belleco                                                               Contingent
          PO Box 880                                                            Unliquidated
          Saco, ME 04072                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $193.70
          Belshaw Adamatic Bakery Group                                         Contingent
          PO Box 952119                                                         Unliquidated
          Dallas, TX 75395-2119                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,608.25
          Benchmark                                                             Contingent
          25-j Brookfield Oaks Dr                                               Unliquidated
          Greenville, SC 29607                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,040.00
          Benfield Mechanical Svcs                                              Contingent
          PO Box 3365                                                           Unliquidated
          Hickory, NC 28603                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 12 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 17 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,506.19
          Berlins Restaurant Supply Inc                                         Contingent
          5051 Rivers Avr                                                       Unliquidated
          North Charleston, SC 29406                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,315.71
          Berner International                                                  Contingent
          PO Box 645018                                                         Unliquidated
          Pittsburgh, PA 15264-5018                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,176.44
          Best Way Fabricating Inc                                              Contingent
          710 15th Ave PO Box 187                                               Unliquidated
          St Joseph, MN 56374                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,404.64
          Beverage Air                                                          Contingent
          3779 Champion Blvd                                                    Unliquidated
          Winston-salem, NC 27105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $323.60
          Bissell Commercial                                                    Contingent
          Edmar Corp                                                            Unliquidated
          100 Armstrong Rd Ste 101                                              Disputed
          Plymouth, MA 02360
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $19.60
          Bizerba Usa Inc                                                       Contingent
          PO Box 826704                                                         Unliquidated
          Philadelphia, PA 19182-6704                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,845.60
          Bk Resources                                                          Contingent
          35365 Eagle Way                                                       Unliquidated
          Chicago, IL 60678-1353                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 13 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 18 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,604.00
          Blendtec                                                              Contingent
          1206 S 1680 W                                                         Unliquidated
          Orem, UT 84058-4938                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $138,255.18
          Blodgett Oven                                                         Contingent
          44 Lakeside Ave                                                       Unliquidated
          Burlington, VT 05401-5242                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $360.00
          Blue Rhino                                                            Contingent
          10 Hub Dr Ste 101                                                     Unliquidated
          Melville, NY 11747                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $488.14
          Bluepoint Bakery                                                      Contingent
          1721 E 58th Ave                                                       Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,550.00
          Bnsf Logistics                                                        Contingent
          75 Remittance Dr Ste 1767                                             Unliquidated
          Chicago, IL 60675-1767                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,992.19
          Bobrick                                                               Contingent
          PO Box 513172                                                         Unliquidated
          Los Angeles, CA 90051-1172                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $13,006.30
          Bon Chef                                                              Contingent
          205 Route 94                                                          Unliquidated
          South Lafayette, NJ 07848                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 14 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 19 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $203.89
          Bonded Carbon And Ribbon Company                                      Contingent
          Manufacturer Svcs Group                                               Unliquidated
          210 Edwards Ave                                                       Disputed
          Harahan, LA 70123
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $74.64
          Boston Showcase Company                                               Contingent
          66 Winchester St                                                      Unliquidated
          Newton Highlands, MA 02461                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $35,281.80
          Browne Halco                                                          Contingent
          788 Morris Tpke Ste 202                                               Unliquidated
          Short Hills, NJ 07078                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,077.94
          Bs And R Equipment Co Inc                                             Contingent
          198 South Locust                                                      Unliquidated
          Twin Falls, ID 83301                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $70,012.11
          Bsi Llc                                                               Contingent
          5125 Race Ct                                                          Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $672.29
          Buffet Enhancements                                                   Contingent
          PO Box 1000 Point                                                     Unliquidated
          Clear, AL 36546                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,121.21
          Bunn O Matic                                                          Contingent
          24315 Network Pl                                                      Unliquidated
          Chicago, IL 60673-1243                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 15 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 20 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $341.71
          Burroughs Inc                                                         Contingent
          PO Box 72591                                                          Unliquidated
          Cleveland, OH 44192-0002                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $249.41
          Bushong Restaurant Equipment Inc                                      Contingent
          422 East Bacon St                                                     Unliquidated
          Dayton, OH 45402                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $219.68
          C And M Fire Extinguisher Co Llc                                      Contingent
          835 Colonial Club Dr                                                  Unliquidated
          Harahan, LA 70123                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $15,915.53
          C Caprara Food Svcs Equipment                                         Contingent
          PO Box 140                                                            Unliquidated
          Wintrhop, ME 04364                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,683.71
          Cac China                                                             Contingent
          30 Camptown Rd                                                        Unliquidated
          Maplewood, NJ 07040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $17,048.08
          Cadco                                                                 Contingent
          200 International Way                                                 Unliquidated
          Winstead, CT 06098                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $250,276.15
          Cambro                                                                Contingent
          5801 Skylab Rd                                                        Unliquidated
          Huntington Beach, CA 92647-2056                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 16 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 21 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $22,504.35
          Cannon Marketing Hoshizaki                                            Contingent
          4684 Hwy 70 West                                                      Unliquidated
          Kinston, NC 28504                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $268,912.23
          Captiveaire                                                           Contingent
          PO Box 60270                                                          Unliquidated
          Charlotte, NC 28260                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,201.29
          Cardinal International Inc                                            Contingent
          PO Box 95000 5535                                                     Unliquidated
          Philadelphia, PA 19195-5535                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,102.52
          Cardinal Scale Manufacturing Co                                       Contingent
          PO Box 873049                                                         Unliquidated
          Kansas City, MO 64187-3049                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,670.41
          Carlisle                                                              Contingent
          22926 Network Pl                                                      Unliquidated
          Chicago, IL 60673-1229                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $908.88
          Carolina Table Manufacturing Co Inc                                   Contingent
          102 West Main St PO Box 525                                           Unliquidated
          Lamar, SC 29069                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $38,572.07
          Carter Hoffmann                                                       Contingent
          2403 Collections Center Dr                                            Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 17 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 22 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,018.00
          Cashs Restaurant Equipment                                            Contingent
          620 Maria St                                                          Unliquidated
          Kenner, LA 70062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $614.70
          Cassida Corp                                                          Contingent
          19636 Sw 90th Ct                                                      Unliquidated
          Tualatin, OR 97062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,249.28
          Castino Restaurant Equipment And Supply                               Contingent
          50 Utility Ct                                                         Unliquidated
          Rohnert Park, CA 94928                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,735.69
          Cayards Inc                                                           Contingent
          4215 Choctaw Dr                                                       Unliquidated
          Baton Rouge, LA 70805                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,269.86
          Cd Jones                                                              Contingent
          445 Bryant St #1                                                      Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $186.40
          Cdn                                                                   Contingent
          PO Box 10947                                                          Unliquidated
          Portland, OR 97296-0947                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $26,645.49
          Ce Holt Refrigeration Inc                                             Contingent
          PO Box 3148                                                           Unliquidated
          Huntersville, NC 28070-3148                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 18 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 23 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $24,003.62
          Central Equipment Inc                                                 Contingent
          PO Box 288                                                            Unliquidated
          Columbia, SC 29202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $133.56
          Central Specialties Ltd                                               Contingent
          220 D Exchange Dr                                                     Unliquidated
          Crystal Lake, IL 60014                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,820.96
          Century Link                                                          Contingent
          Business Services                                                     Unliquidated
          PO Box 52187                                                          Disputed
          Phoenix, AZ 85072-2167
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,850.00
          Ch Robinson Worldwide Inc                                             Contingent
          PO Box 9121                                                           Unliquidated
          Minneapolis, MN 55480-9121                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $27,586.00
          Champion                                                              Contingent
          3765 Champion Blvd PO Box 4149                                        Unliquidated
          Winston Salem, NC 27115                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,810.57
          Channel Manufacturing Inc                                             Contingent
          55 Channel Dr                                                         Unliquidated
          Port Washington, NY 11050                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,345.00
          Chapman Company                                                       Contingent
          10801 Johnston Rd Ste 210                                             Unliquidated
          Charlotte, NC 28226                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 19 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 24 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Chase Card Svcs                                                       Contingent
          PO Box 94014                                                          Unliquidated
          Palatine, IL 60094-4014                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,191.00
          Chase Doors                                                           Contingent
          4518 Soultions Ctr #774518                                            Unliquidated
          Chicago, IL 60677-4005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,423.56
          Chef Revival                                                          Contingent
          7240 Cross Park Dr                                                    Unliquidated
          North Charleston, SC 29418                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,260.86
          Chef Specialties                                                      Contingent
          411 West Water St                                                     Unliquidated
          Smethport, PA 16749-1199                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,032.63
          Chefs Supply And Design Inc                                           Contingent
          485 N Hollywood                                                       Unliquidated
          Memphis, TN 38112                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $520.35
          Chernoff Sales Inc                                                    Contingent
          6280 Nw 27th Way                                                      Unliquidated
          Fort Lauderdale, FL 33309                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $150.00
          Cherryville Signs And Graphics                                        Contingent
          501 Pine Grove Ave                                                    Unliquidated
          Cherryville, NC 28021                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 20 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 25 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,239.07
          Chicago Metallic                                                      Contingent
          6637 Reliable Pkwy                                                    Unliquidated
          Chicago, IL 60686                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,050.00
          Chill Masters Inc                                                     Contingent
          PO Box 41025                                                          Unliquidated
          Mesa, AZ 85274                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,586.11
          Chill Rite Mfg                                                        Contingent
          PO Box 5566                                                           Unliquidated
          Slidell, LA 70469                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $596.70
          Choice Equipment Company Inc                                          Contingent
          5974 Hwy 129 Unit O                                                   Unliquidated
          Pendergrass, GA 30567                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $262.61
          Cintas                                                                Contingent
          PO Box 17768                                                          Unliquidated
          Denver, CO 80217                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $172.44
          Cintas First Aid And Safety                                           Contingent
          PO Box 631025                                                         Unliquidated
          Cincinatti, OH 45263-1025                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $20.00
          City Of New Orleans                                                   Contingent
          Parking Violations Bureau                                             Unliquidated
          PO Box 52828                                                          Disputed
          New Orleans, LA 70152-2828
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 21 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 26 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,166.07
          Clark County Bar And Rest Equip                                       Contingent
          1117 South Commerce St                                                Unliquidated
          Las Vegas, NV 89102                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,842.47
          Classic Restaurant Supply Inc                                         Contingent
          312 Murphy Rd                                                         Unliquidated
          Hartford, CT 06114                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $52,138.11
          Cleveland Range Manitowoc Oven                                        Contingent
          PO Box 79242                                                          Unliquidated
          City Of Industry, CA 91716                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,273.73
          Cma Dishmachines                                                      Contingent
          12700 Knott Ave                                                       Unliquidated
          Garden Grove, CA 92841                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,821.18
          Comcast                                                               Contingent
          PO Box 37601                                                          Unliquidated
          Philadelphia, PA 19101-0601                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,415.50
          Commercial & Residential Heating & Air                                Contingent
          1317 M North Main St #114                                             Unliquidated
          Summerville, SC 29483-7307                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $49.59
          Commercial Glass And Rest Supply                                      Contingent
          4027 Arnold Ave                                                       Unliquidated
          Naples, FL 34104                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 22 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 27 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,708.30
          Commercial Kitchen Supply                                             Contingent
          1377 West 75                                                          Unliquidated
          North Centerville, UT 84014                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $315.00
          Commercial Refrigeration Of Central Il                                Contingent
          2020 Prairie Ave                                                      Unliquidated
          Mattoon, IL 61938                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $495.72
          Commercial Svcs Southeast                                             Contingent
          PO Box 15256                                                          Unliquidated
          Chattanooga, TN 37415                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $13,403.04
          Commerical Stainless                                                  Contingent
          955 Patterson Dr                                                      Unliquidated
          Bloomsburg, PA 17815                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $51.48
          Complete Restaurant Equipment                                         Contingent
          3929 Us 1                                                             Unliquidated
          Vero Beach, FL 32961                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $32.52
          Component Hardware                                                    Contingent
          PO Box 789482                                                         Unliquidated
          Philadelphia, PA 19178-9482                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,247.45
          Consolidated Commercial Controls Inc                                  Contingent
          607 W Dempster St                                                     Unliquidated
          Mount Prospect, IL 60056                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 23 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 28 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $80.24
          Consolidated Food Equipment Dist                                      Contingent
          47 N Cleveland Massillon Rd                                           Unliquidated
          Akron, OH 44333                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $36,956.00
          Consolidated Laundry Equipment Inc                                    Contingent
          530 Maywood Ave                                                       Unliquidated
          Raleigh, NC 27603                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,284.32
          Continental                                                           Contingent
          4083 Paysphere Cir                                                    Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $21,932.75
          Continental Refrigeration                                             Contingent
          PO Box 82 0107                                                        Unliquidated
          Philadelphia, PA 19182-0107                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $454.08
          Cook Tek                                                              Contingent
          156 N Jefferson St Ste 300                                            Unliquidated
          Chicago, IL 60661                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,929.31
          Cookshack                                                             Contingent
          2304 N Ash St                                                         Unliquidated
          Ponca City, OK 74601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,929.70
          Cool Distribution                                                     Contingent
          353 W 56th Ave                                                        Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 24 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 29 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $529.18
          Cooper Atkins                                                         Contingent
          PO Box 1274                                                           Unliquidated
          Buffalo, NY 14240                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,715.47
          Corby Hall                                                            Contingent
          Three Emery Ave                                                       Unliquidated
          Randolph, NJ 07869                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,113.51
          Corona Hotelware Corp                                                 Contingent
          2121 Ponce De Leon Blvd Ste 1050                                      Unliquidated
          Coral Gables, FL 33134                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,565.11
          Courtney Marketing Inc                                                Contingent
          301 W Deer Valley Rd Ste 8                                            Unliquidated
          Phoenix, AZ 85027                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $598.00
          Cox Communications Inc                                                Contingent
          PO Box 61027                                                          Unliquidated
          New Orleans, LA 70161-1027                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $21,894.50
          Coyote                                                                Contingent
          PO Box 742636                                                         Unliquidated
          Atlanta, GA 30374-2636                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $57,371.60
          Cres Cor                                                              Contingent
          Dept 95 2003                                                          Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 25 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 30 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,919.41
          Crest Foodservice Equip Co                                            Contingent
          605 Jack Rabbit Rd                                                    Unliquidated
          Virginia Beach, VA 23451                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $64.14
          Crestware                                                             Contingent
          PO Box 540210                                                         Unliquidated
          North Salt Lake, UT 84054                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $33,872.50
          Criteo Corp                                                           Contingent
          411 High St                                                           Unliquidated
          Palo Alto, CA 94301                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,912.98
          Crown Verity                                                          Contingent
          37 Adams Blvd, Branton, ON N3S 7V8                                    Unliquidated
          CANADA                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $139,373.07
          Crst Specialized Transportation Inc                                   Contingent
          PO Box 71279                                                          Unliquidated
          Chicago, IL 60694-1279                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,207.89
          Culinex                                                               Contingent
          PO Box 2925                                                           Unliquidated
          Fargo, ND 58108-2925                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,066.79
          Curran Taylor Inc                                                     Contingent
          PO Box 3500                                                           Unliquidated
          Pittsburgh, PA 15230-3500                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 26 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 31 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $407.00
          Custom Deco                                                           Contingent
          1343 Miami St                                                         Unliquidated
          Toledo, OH 43605                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $402.16
          Custom Refrigerations                                                 Contingent
          640 Mendelssohn Ave                                                   Unliquidated
          N Golden Valley, MN 55427                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,955.80
          Cyl Tec Inc                                                           Contingent
          PO Box 71041                                                          Unliquidated
          Chicago, IL 60694-1041                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,826.00
          Dalton                                                                Contingent
          4045 Lakefront Ct                                                     Unliquidated
          Earth City, MO 63045                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,075.00
          Davis Equipment Handlers Inc                                          Contingent
          3860 Abilene Rd                                                       Unliquidated
          Concord, NC 28025                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $159.75
          Day And Nite All Svcs Fla Llc                                         Contingent
          PO Box 310                                                            Unliquidated
          New Hyde Park, NY 11040                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,108.44
          Daymark                                                               Contingent
          12836 South Dixie Hwy                                                 Unliquidated
          Bowling Green, OH 43402                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 27 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 32 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,693.40
          Dazbog Coffee                                                         Contingent
          1090 Yuma St                                                          Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $64,114.58
          Dc Fabrication Inc                                                    Contingent
          1776 Two Notch Rd                                                     Unliquidated
          Lexington, SC 29073                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,430.00
          Dc Ltd                                                                Contingent
          10545 Guilford Rd #101                                                Unliquidated
          Jessup, MD 20794                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $75.06
          Debuyer Inc                                                           Contingent
          5111 Performance Dr                                                   Unliquidated
          Cumming, GA 30040                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $110,906.57
          Delfield                                                              Contingent
          980 South Isabella Rd                                                 Unliquidated
          Mt Pleasant, MI 48858-0470                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $517.30
          Denver Equipment Co Of Charlotte Inc                                  Contingent
          5922 Harris Technology Blvd                                           Unliquidated
          Charlotte, NC 28269                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $733.83
          Denver Syrup                                                          Contingent
          353 W 56th Ave                                                        Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 28 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 33 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,178.90
          Dexter Russell                                                        Contingent
          44 River St                                                           Unliquidated
          Southbridge, MA 01550                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $582.00
          Diamond Paper Co Ltd                                                  Contingent
          PO Box 1276                                                           Unliquidated
          Destrehan, LA 70047-1276                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $78.69
          Dine Out                                                              Contingent
          2007 N King Dr                                                        Unliquidated
          Milwaukee, WI 53212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,720.60
          Discount Equipment International                                      Contingent
          3908 N 29th Ave                                                       Unliquidated
          Hollywood, FL 33020                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $18.50
          Discreet Check Llc                                                    Contingent
          PO Box 7167                                                           Unliquidated
          Lee's Summit, MO 64064                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,965.50
          Diversified Ceramics                                                  Contingent
          1501 N Gordon                                                         Unliquidated
          Alvin, TX 77511                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,173.12
          Diversified Metal                                                     Contingent
          2205 Carlson Dr                                                       Unliquidated
          Northbrook, IL 60062-6705                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 29 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 34 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,410.61
          Dm Jeffers Inc                                                        Contingent
          6530 Midlothian Tpke                                                  Unliquidated
          Richmond, VA 23225                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,265.38
          Don Stevens Llc                                                       Contingent
          Nw6070 PO Box 1450                                                    Unliquidated
          Minneapolis, MN 55485-6070                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $17,770.06
          Dormont                                                               Contingent
          PO Box 536302                                                         Unliquidated
          Pittsburgh, PA 15253-5905                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $383.35
          Doughpro                                                              Contingent
          20281 Harvill Ave                                                     Unliquidated
          Perris, CA 92570                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,318.00
          Doyon Inc                                                             Contingent
          13542 Collections Center Dr                                           Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,400.00
          Dpm I                                                                 Contingent
          PO Box 453                                                            Unliquidated
          Castle Rock, CO 80104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $28.29
          Drec                                                                  Contingent
          402 Commerce Ct                                                       Unliquidated
          Goldsboro, NC 27532                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 30 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 35 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $22,215.89
          Dudson Usa Inc                                                        Contingent
          PO Box 6023739                                                        Unliquidated
          Charlotte, NC 28260-2739                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $55,279.92
          Duke Manufacturing Co                                                 Contingent
          PO Box 503574                                                         Unliquidated
          St Louis, MO 63150-3574                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,293.51
          Dw Haber                                                              Contingent
          825 East 140th St                                                     Unliquidated
          Bronx, NY 10454                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,672.61
          Dynamic                                                               Contingent
          1320 Routh 9 # 1352                                                   Unliquidated
          Champlain, NY 12919                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $112,553.12
          Eagle Group                                                           Contingent
          100 Industrial Blvd                                                   Unliquidated
          Clayton, DE 19938-8903                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $91,567.57
          Echo                                                                  Contingent
          Accounts Receivable                                                   Unliquidated
          22168 Network Pl                                                      Disputed
          Chicago, IL 60673-1221
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $541.95
          Eco Gecko                                                             Contingent
          2328 Spaulding Ave                                                    Unliquidated
          Berkeley, CA 94702                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 31 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 36 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $22.65
          Eco Products                                                          Contingent
          4755 Walnut St                                                        Unliquidated
          Boulder, CO 80301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $426.20
          Ecolab Equipment Care                                                 Contingent
          Gcs Svcd Inc                                                          Unliquidated
          24673 Network Pl                                                      Disputed
          Chicago, IL 60673-1246
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $698.10
          Economy Paper And Restaurant Supply                                   Contingent
          180 Broad St                                                          Unliquidated
          Clifton, NJ 07013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $118.00
          Edgecraft                                                             Contingent
          825 Southwood Rd                                                      Unliquidated
          Avondale, PA 19311                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,132.26
          Edlund Company                                                        Contingent
          PO Box 929                                                            Unliquidated
          Burlington, VT 05402-0929                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,941.84
          Edwin Hunter And Associates                                           Contingent
          1602 Davie Ave                                                        Unliquidated
          Statesville, NC 28677                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,993.50
          Electrolux                                                            Contingent
          Department 2722                                                       Unliquidated
          Carol Stream, IL 60132-2722                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 32 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 37 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,634.16
          Elite Global Solutions Inc                                            Contingent
          17932 Descartes                                                       Unliquidated
          Foothill Ranch, CA 92610                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,787.19
          Elkay Sales Inc                                                       Contingent
          2222 Camden Ct                                                        Unliquidated
          Oak Brook, IL 60523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,410.36
          Emerald Isle Landscaping                                              Contingent
          5700 E Evans Ave                                                      Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,057.43
          Emi Yoshi Inc                                                         Contingent
          1200 Jersey Ave                                                       Unliquidated
          North Brunswick, NJ 08902                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,289.59
          Empire Marketing Group                                                Contingent
          PO Box 890824                                                         Unliquidated
          Charlotte, NC 28289-0824                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,366.25
          Emuamericas Llc                                                       Contingent
          104 Broadway Ste 500                                                  Unliquidated
          Denver, CO 80203                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,306.33
          Enzyme Solutions Inc                                                  Contingent
          PO Box 8097                                                           Unliquidated
          Fort Wayne, IN 46898                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 33 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 38 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $21,673.48
          Equipex Ltd                                                           Contingent
          765 Westminster St                                                    Unliquidated
          Providence, RI 02903                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,446.74
          Escali Scales                                                         Contingent
          3202 W 143rd Cir Ste 150                                              Unliquidated
          Burnsville, MN 55306                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,700.00
          Espresso Soci                                                         Contingent
          9834 Crimson Tree Ln                                                  Unliquidated
          Munster, IN 46321                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,737.04
          Espresso Supply Inc                                                   Contingent
          1123 Nw 51st St                                                       Unliquidated
          Seattle, WA 98107                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,867.21
          Essendant                                                             Contingent
          PO Box 531628                                                         Unliquidated
          Atlanta, GA 30353-1628                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $62,618.54
          Estes Express Lines                                                   Contingent
          PO Box 25612                                                          Unliquidated
          Richmond, VA 23260                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $22.33
          Euro Style                                                            Contingent
          2175 East Francisco Blvd                                              Unliquidated
          San Rafael, CA 94901                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 34 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 39 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,380.13
          Eurodib                                                               Contingent
          PO Box 1798                                                           Unliquidated
          Champlain, NY 12919                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,472.00
          Everest Refrigeration                                                 Contingent
          201 W Artesia Blvd                                                    Unliquidated
          Compton, CA 90220                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $13.28
          Evi                                                                   Contingent
          3881 Ten Oaks Rd Ste 2c                                               Unliquidated
          Gleneig, MD 21737                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,076.00
          Evo Inc                                                               Contingent
          8140 Sw Nibus Ave Bldg 5                                              Unliquidated
          Beaverton, OR 97008                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $548.00
          Extra Space                                                           Contingent
          Airline Dr                                                            Unliquidated
          Metairie, LA                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $540.00
          Fadels                                                                Contingent
          Food Svcs Equipment And Supplies                                      Unliquidated
          5426 Ole Pineville Rd                                                 Disputed
          Charlotte, NC 28217
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,923.14
          Fagor Commercial Inc                                                  Contingent
          12800 Nw 38th Ave                                                     Unliquidated
          Miami, FL 33054-4525                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 35 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 40 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $988.40
          Falcon Fabricators                                                    Contingent
          422 Allied Dr                                                         Unliquidated
          Nashville, TN 37211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $795.00
          Feda                                                                  Contingent
          2250 Point Blvd Ste 200                                               Unliquidated
          Elgin, IL 60123                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $30.74
          Federal Express                                                       Contingent
          4103 Collection Center Dr                                             Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,265.53
          Federal Industries                                                    Contingent
          PO Box 533248                                                         Unliquidated
          Charlotte, NC 28290-3248                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,622.80
          Federal Supply                                                        Contingent
          116 Washington St                                                     Unliquidated
          Waukegan, IL 60085                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $228.52
          Fedex Freight Il                                                      Contingent
          PO Box 223125                                                         Unliquidated
          Pittsburgh, PA 15251-2125                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,840.53
          Fellers Fixtures Inc                                                  Contingent
          2140 W Grand                                                          Unliquidated
          Srpingfield, MO 65802                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 36 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 41 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,961.00
          Fetco                                                                 Contingent
          PO Box 429                                                            Unliquidated
          Lake Zurich, IL 60047-0429                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $312.73
          Fetzer Company                                                        Contingent
          209 East Main St                                                      Unliquidated
          Louisville, KY 40202                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,189.19
          Fineline Settings                                                     Contingent
          135 Crotty Rd                                                         Unliquidated
          Middletown, NY 10941                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $1,275,880.17
          Fipp                                                                  Contingent
          826 Focis St #200                                                     Unliquidated
          Metairie, LA 70005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $90.00
          Fire Alarm Svcs Inc                                                   Contingent
          4800 W 60th Ave                                                       Unliquidated
          Arvada, CO 80003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,252.15
          Fisher Fixtures                                                       Contingent
          1911 Jackson St                                                       Unliquidated
          Omaha, FL 68102                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,182.02
          Fisher Manufacturing Co                                               Contingent
          PO Box 60                                                             Unliquidated
          Tulare, CA 93275                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 37 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 42 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,438.94
          Flat Technologies                                                     Contingent
          409 West 76th St                                                      Unliquidated
          Davenport, IA 52806                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $363.00
          Florida Seating Inc                                                   Contingent
          PO Box 17660                                                          Unliquidated
          Clearwater, FL 33762                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $31,814.03
          Focus Food Svcs                                                       Contingent
          1818 Paysphere Cir                                                    Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Foldcraft Waymar                                                      Contingent
          615 Centennial Dr                                                     Unliquidated
          Kenyon, MN 55946                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $25,807.01
          Follett Corp                                                          Contingent
          Box #2806 PO Box 8500                                                 Unliquidated
          Philadelphia, PA 19178-2806                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,500.00
          Food And Drink                                                        Contingent
          #233015 3015 Momentum Pl                                              Unliquidated
          Chicago, IL 60689-5330                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,922.92
          Food Equipment Company                                                Contingent
          34 Tedwal Ct                                                          Unliquidated
          Greer, SC 29650                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 38 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 43 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,510.00
          Food Equipment Distributors Of America                                Contingent
          7700 Nw 37th Avr                                                      Unliquidated
          Miami, FL 33147                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $364.95
          Food Svcs Of America                                                  Contingent
          PO Box 561439                                                         Unliquidated
          Denver, CO 80256                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,223.50
          Fortessa                                                              Contingent
          22601 Davis Dr                                                        Unliquidated
          Sterling, VA 20164-4471                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $26,395.47
          Franklin Machine Products                                             Contingent
          101 Mt Holly By Pass                                                  Unliquidated
          Lumberton, NJ 08048                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $564.60
          Franmara                                                              Contingent
          PO Box 2139                                                           Unliquidated
          Salinsa, CA 93902-2139                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,494.65
          Front Of The House                                                    Contingent
          9315 Park Dr                                                          Unliquidated
          Miami Shores, FL 33138                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $847.50
          Frosty Refrigeration                                                  Contingent
          93 Woodgate Pines Dr, Kleinburge, ON L4H                              Unliquidated
          CANADA                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 39 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 44 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $49,680.48
          Frymaster                                                             Contingent
          8700 Line Ave                                                         Unliquidated
          Shreveport, LA 71106                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,819.48
          Fsf Manufacturing Inc                                                 Contingent
          575 Econ River Pl                                                     Unliquidated
          Oviedo, FL 32765                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,750.50
          Fwe                                                                   Contingent
          PO Box 1001                                                           Unliquidated
          Crystal Lake, IL 60039                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $28,614.86
          G And A Commerical Seating                                            Contingent
          152 Glen Rd                                                           Unliquidated
          Mountainside, NJ 07092                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Gabriele Musslo                                                       Contingent
          99 Maynard Street
                                                                                Unliquidated
          Williamsport, PA 17701
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Litigation
                                                                             Is the claim subject to offset?      No      Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $17,963.32
          Galley Inc                                                            Contingent
          50 South Us Hwy One                                                   Unliquidated
          Jupiter, FL 33477-5107                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $936.00
          Gar Products                                                          Contingent
          170 Lehigh Ave                                                        Unliquidated
          Lakewood, NJ 08701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 40 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 45 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $57,831.90
          Garland Commercial Range                                              Contingent
          185 East South St                                                     Unliquidated
          Freeland, PA 18224                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,676.80
          George Scott And Associates                                           Contingent
          PO Box 35372                                                          Unliquidated
          Charlotte, NC 28235                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,200.94
          Gerharz Equipment Inc                                                 Contingent
          6146 E Molloy Rd East                                                 Unliquidated
          Syracuse, NY 13057                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,191.36
          Gessner Products                                                      Contingent
          241 North Main St PO Box 389                                          Unliquidated
          Ambler, PA 19002-0389                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,076.67
          Get Enterprises                                                       Contingent
          1515 Sam Houston Pky North                                            Unliquidated
          Houston, TX 77043                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,687.04
          Gfx International                                                     Contingent
          PO Box 83007                                                          Unliquidated
          Chicago, IL 60691-3010                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,915.25
          Glastender                                                            Contingent
          7969 Solution Ctr                                                     Unliquidated
          Chicago, IL 60677-7009                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 41 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 46 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $55.99
          Global Equipment Company                                              Contingent
          29833 Network Pl                                                      Unliquidated
          Chicago, IL 60673-1298                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $84.89
          Global Ultimates Llc                                                  Contingent
          Dba Fat Daddios                                                       Unliquidated
          PO Box 30175                                                          Disputed
          Spokane, WA 99223
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $155,895.16
          Globe Food Equipment Co                                               Contingent
          PO Box 636190                                                         Unliquidated
          Cincinnati, OH 45263-6190                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,790.63
          Gold Medal Products                                                   Contingent
          10700 Medallion Dr                                                    Unliquidated
          Cincinnati, OH 45241-4807                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $143.96
          Gold Star Products                                                    Contingent
          21680 Coolidge Hwy                                                    Unliquidated
          Oak Park, MI 48237                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $998.17
          Golden Light                                                          Contingent
          1010 W 6th Ave                                                        Unliquidated
          Amarillo, TX 79101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $29.95
          Goodwin Brothers Inc                                                  Contingent
          319 E Jefferson St                                                    Unliquidated
          Montgomery, AL 36104                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 42 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 47 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $638,762.39
          Google Inc                                                            Contingent
          Dept 33654 PO Box 39000                                               Unliquidated
          San Francisco, CA 94139                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $181.20
          Grainger Industrial Supply                                            Contingent
          95 S Tejon St                                                         Unliquidated
          Denver, CO 80223                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,055.00
          Great Lakes Fire Protection                                           Contingent
          21850 Watertown Rd                                                    Unliquidated
          Waukesha, WI 53186                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $60,078.68
          Grindmaster                                                           Contingent
          PO Box 513047                                                         Unliquidated
          Philadelphia, PA 19175-3047                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $146,290.60
          Groen                                                                 Contingent
          Groen PO Box 91570                                                    Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,946.12
          Grosfillex                                                            Contingent
          PO Box 194                                                            Unliquidated
          Robesonia, PA 19551                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,068.76
          Gsw                                                                   Contingent
          177 Rowland Ave #b                                                    Unliquidated
          El Monte, CA 91731                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 43 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 48 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,879.70
          Gulf Ice Systems Inc                                                  Contingent
          7790 Sears Blvd PO Box 15151                                          Unliquidated
          Pensacola, FL 32514-4542                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,727.01
          Gustave A Larson Company                                              Contingent
          W233 N2869 Roundy Cir                                                 Unliquidated
          West Pewaukee, WI 53072-0910                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,878.07
          H Risch Inc                                                           Contingent
          44 Saginaw Dr                                                         Unliquidated
          Rochester, NY 14623                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,168.06
          Hall China                                                            Contingent
          PO Box 989                                                            Unliquidated
          East Liverpool, OH 43920-5989                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $29,022.00
          Halton Company                                                        Contingent
          Amy Collins                                                           Unliquidated
          PO Box 641273                                                         Disputed
          Cincinnati, OH 45264-1273
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,456.65
          Hamilton Beach                                                        Contingent
          1524 Reliable Pkwy                                                    Unliquidated
          Chicago, IL 60686                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $813.90
          Harloff Manufacturing Company                                         Contingent
          828 Duo Tang Rd                                                       Unliquidated
          Paw Paw, MI 49079                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 44 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 49 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $526.38
          Harold Import Company Inc                                             Contingent
          747 Vassar Ave                                                        Unliquidated
          Lakewood, NJ 08701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $15.55
          Harris Restaurant Supply Inc                                          Contingent
          25 Abendroth Ave                                                      Unliquidated
          Port Chester, NY 10573                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $21.11
          Hart And Price                                                        Contingent
          PO Box 36368                                                          Unliquidated
          Dallas, TX 75235                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $38,249.13
          Hatco Corp                                                            Contingent
          PO Box 68 4035                                                        Unliquidated
          Milwaukee, WI 53268-4035                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,868.43
          Hawkins Commercial Appliance Svcs                                     Contingent
          3000 S Wyandot                                                        Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,806.48
          Heubel Material Handling Inc                                          Contingent
          PO Box 870975                                                         Unliquidated
          Kansas City, MO 64187-0975                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $98.41
          Hew s Hotel And Restaurant Supplies Ltd                               Contingent
          341 North Sound Rd, Grand Cayman Ky 1-10                              Unliquidated
          CAYMAN ISLANDS                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 45 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 50 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,561.18
          Hi Genes Janitorial Svcs                                              Contingent
          PO Box 12385                                                          Unliquidated
          North Kansas City, MO 64116                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $41,300.30
          Hines Reit Arapahoe Ii Llc                                            Contingent
          Dept 2190                                                             Unliquidated
          Denver, CO 80291-2190                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $588.75
          Hix Corp                                                              Contingent
          1201 E 27th Ter                                                       Unliquidated
          Pittsburgh, KS 66762                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,912.47
          Hm Store Fixture                                                      Contingent
          6695-i Jimmy Carter Blvd                                              Unliquidated
          Norcross, GA 30071                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $358.02
          Hobart Sales And Svcs                                                 Contingent
          PO Box 2517                                                           Unliquidated
          Carol Stream, IL 60132-2517                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,165.63
          Hollowick                                                             Contingent
          100 Fairgrounds Dr                                                    Unliquidated
          Manlius, NY 13104                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,371.88
          Homer Laughlin China                                                  Contingent
          672 Fiesta Dr                                                         Unliquidated
          Newell, WV 26050-1299                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 46 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 51 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $261.80
          Hospitality Glass                                                     Contingent
          52 Forest Ave                                                         Unliquidated
          Paramus, NJ 07652                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,509.06
          Hotel Supply Warehouse Inc                                            Contingent
          224 South Military Trl                                                Unliquidated
          Deerfield Beach, FL 33442                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,397.11
          Howard Mccray                                                         Contingent
          831 East Cayuga                                                       Unliquidated
          Philidelphia, PA 19124                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,500.00
          Hub Spot                                                              Contingent
          PO Box 674722                                                         Unliquidated
          Detroit, MI 48267-4722                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,223.13
          Hubbel Electric Heater Company                                        Contingent
          45 Seymour St PO Box 288                                              Unliquidated
          Stratford, CT 06615-0288                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $896.00
          Hunt Midwest                                                          Contingent
          8300 Ne Underground Dr                                                Unliquidated
          Kansas City, MO 64161                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $516,621.54
          Ice O Matic                                                           Contingent
          Dba Ice O Matic                                                       Unliquidated
          11100 E 45th Ave                                                      Disputed
          Denver, CO 80239
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 47 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 52 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $23,733.50
          Imc Teddy                                                             Contingent
          PO Box 206                                                            Unliquidated
          Copiague, NY 11726                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,509.27
          Imperial                                                              Contingent
          1128 Sherborn St                                                      Unliquidated
          Corona, CA 92879                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $51,423.00
          Imperial Brown                                                        Contingent
          2271 Ne 194th                                                         Unliquidated
          Portland, OR 97230                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $149.15
          Importika                                                             Contingent
          2200 Brighton Henrietta Town Line Rd                                  Unliquidated
          Rochester, NY 14623                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,647.05
          Index Rest Supply                                                     Contingent
          521 Main St                                                           Unliquidated
          Kansas, MO 64105                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $22,036.00
          Infinity Kitchen Products Inc                                         Contingent
          7750 Scout Ave Bell                                                   Unliquidated
          Gardens, CA 90201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $28.00
          Infra Corp                                                            Contingent
          PO Box 300997                                                         Unliquidated
          Waterford, MI 48330                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 48 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 53 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,926.06
          Innova Products                                                       Contingent
          1139 S Sunnyslope Dr Ste 200                                          Unliquidated
          Mt Pleasant, WI 53406                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $28,295.50
          Insinger Machine Company                                              Contingent
          6245 State Rd                                                         Unliquidated
          Philadelphia, PA 19135                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,369.48
          Insinkerator                                                          Contingent
          Emerson Co                                                            Unliquidated
          PO Box 101409                                                         Disputed
          Atlanta, GA 30392
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $84.70
          Institution Svcs                                                      Contingent
          1421b Ave                                                             Unliquidated
          Sioux Falls, SC 57104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $30,636.29
          Intermetro                                                            Contingent
          651 N Washington St                                                   Unliquidated
          Wilkes Barre, PA 18705                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,453.08
          International Foods                                                   Contingent
          760 Lakeside Dr Unit A                                                Unliquidated
          Gurnee, IL 60031                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,506.97
          International Tableware                                               Contingent
          300 Phillips Ave                                                      Unliquidated
          Toledo, OH 43612                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 49 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 54 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $543.00
          Iowa Rotocast Plastics Inc                                            Contingent
          PO Box 320 1712 Moellers Dr                                           Unliquidated
          Decorah, IA 52101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $909.60
          Isi Commercial Refrigeration Inc                                      Contingent
          A Trimark Company                                                     Unliquidated
          PO Box 654020                                                         Disputed
          Dallas, TX 75265-4020
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,594.90
          Isqft Inc                                                             Contingent
          4500 Lake Forest Dr                                                   Unliquidated
          Cincinnati, OH 45242                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $33,374.81
          Iwave Denver                                                          Contingent
          14697 E Easter Ave                                                    Unliquidated
          Centennial, CO 80112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $14.55
          J And R Restaurant Equipment Inc                                      Contingent
          2920 Girard Ne                                                        Unliquidated
          Albuquerque, NM 87107                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,840.00
          J Hudelson Corp                                                       Contingent
          6800 North Broadway Ste 112                                           Unliquidated
          Denver, CO 80122                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $788.78
          Jackson And Associates                                                Contingent
          15460 Herriman Blvd                                                   Unliquidated
          Noblesville, IN 46060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 50 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 55 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $127,702.27
          Jackson Wws Inc                                                       Contingent
          PO Box 8500 53348                                                     Unliquidated
          Philadelphia, PA 19178-3348                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,629.95
          Jade Range Llc                                                        Contingent
          14697 Collections Center Dr                                           Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,154.00
          Jay Import Company                                                    Contingent
          41 Madison Ave 12th Fl                                                Unliquidated
          New York, NY 10010                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $919.92
          Jb Prince Company Inc                                                 Contingent
          36 East 31st St                                                       Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $111.75
          Jefferson Parish Dept Of Water                                        Contingent
          PO Box 10007                                                          Unliquidated
          Jefferson, LA 70181-0007                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Jeffrey Landauer                                                      Contingent
          118 Cantril Street
                                                                                Unliquidated
          Castle Rock, CO 80104
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    ADA claim
                                                                             Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,148.84
          Jes Restaurant Equipment                                              Contingent
          2108 Highway 72                                                       Unliquidated
          Greenwood, SC 29649                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 51 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 56 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $59,577.42
          Jet Tech Systems                                                      Contingent
          5659 Royalmount Ave                                                   Unliquidated
          Montreal, QU 00429                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jimex Corp                                                            Contingent
          1575 Zephyr Ave                                                       Unliquidated
          Hayward, CA 94544                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,333.33
          Joe Sullo                                                             Contingent
          Restaurantsupply.com                                                  Unliquidated
          312 Murphy Rd                                                         Disputed
          Hartford, CT 06114-2127
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $1,000,000.00
          Joe Sullo                                                             Contingent
          c/o Kerry M. Wisser, Esq.                                             Unliquidated
          29 S. Main St., Ste. 207                                              Disputed
          West Hartford, CT 06107
                                                                             Basis for the claim:    Promissory Note
          Date(s) debt was incurred 9/1/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $52,160.95
          John Boos                                                             Contingent
          35261 Eagle Way                                                       Unliquidated
          Chicago, IL 60678-1352                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $538.79
          Johnson Mechanical Svcs Inc                                           Contingent
          Accounts Receivable                                                   Unliquidated
          1820 Riverway Dr                                                      Disputed
          Pekin, IL 61554
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $15,868.70
          Johnson Pike And Associates                                           Contingent
          740 Umatilla St                                                       Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 52 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 57 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $600.00
          Johnsons Roofing Svcs Inc                                             Contingent
          PO Box 607                                                            Unliquidated
          Fort Mill, SC 29716                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Joseph Sullo                                                          Contingent
          46 Old Stone Crossing
                                                                                Unliquidated
          West Hartford, CT 06117
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Litigation
                                                                             Is the claim subject to offset?      No      Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $45,822.44
          Jrmi                                                                  Contingent
          PO Box 270843                                                         Unliquidated
          Flower Mound, TX 75027-0843                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $174.00
          Jv Mechanical                                                         Contingent
          7100 N Broadway Unit 5g                                               Unliquidated
          Denver, CO 80221                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,044.86
          K Tec                                                                 Contingent
          1206 S 1680 W X                                                       Unliquidated
          Mesa, AZ 85274                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,820.85
          Kamran And Company Inc                                                Contingent
          411 East Montecito St                                                 Unliquidated
          Santa Barbara, CA 93101                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $352.40
          Kavanaugh Rest Supply                                                 Contingent
          2920 Bryant Rd                                                        Unliquidated
          Madison, WI 53713                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 53 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 58 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,203.65
          Kcp And L                                                             Contingent
          PO Box 219330                                                         Unliquidated
          Kansas City, MO 64121-9330                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $35,244.26
          Kd Supply                                                             Contingent
          18150 E 32nd Pl Unit E                                                Unliquidated
          Aurora, CO 8011-                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $591.74
          Keating Of Chicago                                                    Contingent
          Dept 20 8017 PO Box 5998                                              Unliquidated
          Carol Stream, IL 60197-5998                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $310.02
          Kelly Products Co Inc                                                 Contingent
          1147 Route 9 South Cape May                                           Unliquidated
          Court House, NJ 08210                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $91.76
          Kennedy Office Supply                                                 Contingent
          PO Box 58630                                                          Unliquidated
          Raleigh, NC 58630                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $521.95
          Kesco Supply Inc                                                      Contingent
          1411 South Texas Ave                                                  Unliquidated
          Bryan, TX 77805                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,370.17
          Keurig Green Mountain Inc                                             Contingent
          PO Box 414159                                                         Unliquidated
          Boston, MA 00224-1459                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 54 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 59 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $430.00
          Kissinger And Fellman Pc                                              Contingent
          3773 Cherry Creek North Dr Ste 900                                    Unliquidated
          Denver, CO 80209                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $232.89
          Kitchen Equpment And Supply Co                                        Contingent
          4148 Barrancas Ave                                                    Unliquidated
          Pensacola, FL 32507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $191.00
          Klingers Trading Inc                                                  Contingent
          3009-b Bankers Industrial Dr                                          Unliquidated
          Atlanta, GA 30360                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,306.86
          Koala Kare                                                            Contingent
          A Division Of Bobrick                                                 Unliquidated
          PO Box 911607                                                         Disputed
          Denver, CO 80291-1607
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,610.54
          Kolpak                                                                Contingent
          PO Box 204038                                                         Unliquidated
          Dallas, TX 75320-4038                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,374.20
          Kommercial Kitchens                                                   Contingent
          1100 Freeway Blvd                                                     Unliquidated
          Rose City, TX 77662                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $27.08
          Kount Inc                                                             Contingent
          917 Lusk St Ste 300                                                   Unliquidated
          Boise, ID 83706                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 55 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 60 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,500.00
          Kr Fab                                                                Contingent
          3618 Plyler Mill Rd                                                   Unliquidated
          Monroe, NC 28112                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,437.10
          Krowne Metal Corp                                                     Contingent
          100 Haul Rd                                                           Unliquidated
          Wayne, NJ 07470                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $853.36
          L And M Food Svcs Inc                                                 Contingent
          885 Airpark Dr                                                        Unliquidated
          Bullhead City, AZ 86429                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $850.50
          Labor Ready                                                           Contingent
          PO Box 641034                                                         Unliquidated
          Pittsburgh, PA 15264-1034                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,665.79
          Lagasse                                                               Contingent
          1339 Solutions Ctr                                                    Unliquidated
          Chicago, IL 60677-1003                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $31,087.52
          Lakeside                                                              Contingent
          PO Box 689834                                                         Unliquidated
          Chicago, IL 60695-9834                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,540.80
          Lancer Direct                                                         Contingent
          Dept 20 5006 PO Box 5988                                              Unliquidated
          Carol Stream, IL 60197-5988                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 56 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 61 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $228,566.06
          Landstar                                                              Contingent
          PO Box 784293                                                         Unliquidated
          Philadelphia, PA 19178-4293                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,669.08
          Laporte Sehrt Romig And Hand                                          Contingent
          111 Veterans Memorial Blvd                                            Unliquidated
          Metairie, LA 70005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $18,294.29
          Lbc Bakery Equipment                                                  Contingent
          5901 23rd Dr W Ste 105                                                Unliquidated
          Everett, WA 98203                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $14.00
          Leafware                                                              Contingent
          1750 Prairie City Rd Ste #130 195                                     Unliquidated
          Folsom, CA 95630                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $910.00
          Lee Smalley                                                           Contingent
          5703 E 33rd St                                                        Unliquidated
          Tulsa, OK 74135                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,190.18
          Leeber Limited Usa                                                    Contingent
          115 Pencader Dr                                                       Unliquidated
          Newark, DE 19702                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $462.23
          Lenox Corp                                                            Contingent
          PO Box 643980                                                         Unliquidated
          Cincinnati, OH 45264-3980                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 57 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 62 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $21,608.00
          Lindox Equipment Corp                                                 Contingent
          PO Box 11085                                                          Unliquidated
          Newport News, VA 23601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,396.80
          Litco International Inc                                               Contingent
          PO Box 150                                                            Unliquidated
          Vienna, OH 44473-0150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $19.79
          Little Hardware Company Inc                                           Contingent
          1400 South Mint St                                                    Unliquidated
          Charlotte, NC 28203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,500.00
          Liveclicker Inc                                                       Contingent
          19925 Stevens Creek Blvd Ste 100                                      Unliquidated
          Cupertino, CA 95014-2358                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $650.00
          Lme Inc                                                               Contingent
          PO Box 88271                                                          Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,319.11
          Lodge                                                                 Contingent
          PO Box 380                                                            Unliquidated
          South Pittsburg, TN 37380-0380                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,608.00
          Long Range Systems                                                    Contingent
          4550 Excel Pkwy Ste 200                                               Unliquidated
          Addison, TX 75001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 58 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 63 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $99.08
          Louis R Polster Company                                               Contingent
          585 S High St                                                         Unliquidated
          Columbus, OH 43215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $280.58
          Louisiana Office Products                                             Contingent
          210 Edwards Ave                                                       Unliquidated
          Harahan, LA 70123                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $98,365.59
          Lti                                                                   Contingent
          PO Box 795                                                            Unliquidated
          Jonesboro, GA 30237                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Magdalene Henderson                                                   Contingent
          747 West Otero Place
                                                                                Unliquidated
          Littleton, CO 80128
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Litigation
                                                                             Is the claim subject to offset?      No      Yes

 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $817.25
          Magnuson Industries Inc                                               Contingent
          PO Box 5444                                                           Unliquidated
          Rockford, IL 61125                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $503,637.44
          Manitowoc Food Svcs Group                                             Contingent
          PO Box 204038                                                         Unliquidated
          Dallas, TX 75320-4038                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $67.47
          Manna Distributors Incorp                                             Contingent
          8708 West Pk                                                          Unliquidated
          Houston, TX 77063                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 59 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 64 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $32,401.25
          Marin Software                                                        Contingent
          Dept Ch 16614                                                         Unliquidated
          Palatine, IL 60055-6614                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,768.06
          Marshall Air Systems Inc                                              Contingent
          419 Peachtree Dr                                                      Unliquidated
          South Charlotte, NC 28217                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,635.54
          Master Bilt                                                           Contingent
          PO Box 533247                                                         Unliquidated
          Charlotte, NC 28290-3247                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,337.61
          Master Klean Janitorial Inc                                           Contingent
          PO Box 22044                                                          Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $30,790.36
          Matfer Bourgeat                                                       Contingent
          16150 Lindbergh St                                                    Unliquidated
          Van Nuys, CA 91406                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $104.38
          Mathias Foodservice Equip Co                                          Contingent
          PO Box 491658                                                         Unliquidated
          Lessburg, FL 34749                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $106.19
          Maywood Furniture                                                     Contingent
          23 West Howcroft Rd                                                   Unliquidated
          Maywood, NJ 07607                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 60 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 65 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $18.66
          Mccomas Sales Co Inc                                                  Contingent
          2315 4th St Nw                                                        Unliquidated
          Albuquerque, NM 87102                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $459.80
          Mccourt Manufacturing                                                 Contingent
          1001 N 3rd St                                                         Unliquidated
          Fort Smith, AR 72901                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $797.40
          Mcic                                                                  Contingent
          750 Stewart Ave                                                       Unliquidated
          Garden City, NY 11530                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $97.93
          Mercer Tool                                                           Contingent
          1860 Smithtown Ave                                                    Unliquidated
          Ronkonkoma, NY 11779                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,778.25
          Merchandise Equip And Supply Inc                                      Contingent
          2039 Walker Court Nw                                                  Unliquidated
          Grand Rapids, MI 49544                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,570.34
          Metal Works                                                           Contingent
          1429 E Hadley St                                                      Unliquidated
          Phoenix, AZ 85034                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,083.06
          Metalfrio                                                             Contingent
          5925 Tri-county Pkwy Ste 150                                          Unliquidated
          Schertz, TX 78154                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 61 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 66 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $538.31
          Metro Copier Svcs                                                     Contingent
          PO Box 73254                                                          Unliquidated
          Metairie, LA 70033-3254                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2.15
          Michael Blackman And Associates Inc                                   Contingent
          1106 Broadway                                                         Unliquidated
          Santa Monica, CA 90401                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $307.56
          Michigan Resturant Svcs Inc                                           Contingent
          614 N Main St                                                         Unliquidated
          Olivet, MI 49076                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,760.72
          Micro Matic                                                           Contingent
          Dept Ch 19573                                                         Unliquidated
          Palatine, IL 60055-9573                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,462.50
          Middleby Cooking Systems                                              Contingent
          PO Box 96031                                                          Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $776.11
          Mies Products                                                         Contingent
          505 Commerce St PO Box 457                                            Unliquidated
          West Bend, WI 53095                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $12.50
          Miroil                                                                Contingent
          602 North Tacoma St                                                   Unliquidated
          Allentown, PA 18109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 62 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 67 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $13,371.30
          Mity Lite                                                             Contingent
          1301 W 400 N                                                          Unliquidated
          Orem, UT 84057                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,205.90
          Momentum Group                                                        Contingent
          PO Box 848237                                                         Unliquidated
          Los Angeles, CA 90084-8237                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $13,826.43
          Mountain Sales And Svcs                                               Contingent
          6759 E 50th St                                                        Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $178.00
          Mountainaire Mechanical Llc                                           Contingent
          1415 East 58th Ave                                                    Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $131.91
          Mpm Food Equipment Group Inc                                          Contingent
          1461 Paddock Dr                                                       Unliquidated
          Northbrook, IL 60062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,390.00
          Mts Seating                                                           Contingent
          7100 Industrial Dr                                                    Unliquidated
          Temperance, MI 48182                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,059.33
          Mundial                                                               Contingent
          132 Central St Unit 215                                               Unliquidated
          Foxborough, MA 02035                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 63 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 68 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,360.37
          Mw Periscope                                                          Contingent
          2025 Royal Ln Ste 310                                                 Unliquidated
          Dallas, TX 75229                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,963.03
          National Public Seating Corp                                          Contingent
          149 Entin Rd                                                          Unliquidated
          Clifton, NJ 07014                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $43.28
          National Restaurant Equip And Supply                                  Contingent
          7808 Braygreen Rd                                                     Unliquidated
          Laurel, MD 20707                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $270.00
          Nationwide Candle                                                     Contingent
          806 W Avenida Pico Ste I 180                                          Unliquidated
          San Clemente, CA 92672                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,877.00
          Nationwide Fabrication                                                Contingent
          10923 Leroy Dr                                                        Unliquidated
          Northglenn, CO 80233                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $421.33
          Neff Packaging                                                        Contingent
          PO Box 15056                                                          Unliquidated
          Kansas City, KS 66115-0056                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,181.18
          Nemco                                                                 Contingent
          301 Meuse Argonne PO Box 305                                          Unliquidated
          Hicksville, OH 43526                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 64 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 69 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,659.33
          New Age Industrial                                                    Contingent
          PO Box 520                                                            Unliquidated
          Norton, KS 67654                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $76.18
          New And Nearly New Restaurant Equipment                               Contingent
          7808 Braygreen Rd                                                     Unliquidated
          Laurel, MD 20707                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $447.29
          New Penn Motor Express Inc                                            Contingent
          24801 Network Pl                                                      Unliquidated
          Chicago, IL 60673-1248                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,496.25
          Newco Enterprises Inc                                                 Contingent
          PO Box 790051                                                         Unliquidated
          St Louis, MO 63179-0051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $139.98
          Newell Rubbermaid                                                     Contingent
          75 Remittance Dr Ste 1167                                             Unliquidated
          Chicago, IL 60675-1167                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,069.88
          Nola Box Supply Company Llc                                           Contingent
          8501 Earhard Blvd                                                     Unliquidated
          New Orleans, LA 70118                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $30,260.29
          Nor Lake Inc                                                          Contingent
          PO Box 533246                                                         Unliquidated
          Charlotte, NC 28290-3246                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 65 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 70 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $134.55
          Norpro                                                                Contingent
          2215 Merrill Creek Pkwy                                               Unliquidated
          Everett, WA 98203                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $728.16
          Northern International Inc                                            Contingent
          1 Burbidge St Ste 101, Coquitlam, BC V3K                              Unliquidated
          CANADA                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $430.00
          Northwest Mechanical                                                  Contingent
          PO Box 1593                                                           Unliquidated
          Albany, OR 97321                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,705.00
          Nsf International                                                     Contingent
          Dept Lockbox # 771380 PO Box 77000                                    Unliquidated
          Detroit, MI 48277-1380                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,937.50
          Nuova Distribution Llc                                                Contingent
          6940 Salashan Pkwy Bldg A                                             Unliquidated
          Ferndale, WA 98248                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $524.00
          Oak Street Manufacturing                                              Contingent
          255 Welter Dr                                                         Unliquidated
          Monticello, IA 52310                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $780.23
          Office Depot                                                          Contingent
          PO Box 660113                                                         Unliquidated
          Dallas, TX 75266-0113                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 66 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 71 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,035.00
          Oil Solutions Group Inc                                               Contingent
          4801 Green Oaks Dr                                                    Unliquidated
          Colleyville, TX 76034                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $134.59
          Oil Solutions Group Inc                                               Contingent
          4801 Green Oaks Dr                                                    Unliquidated
          Colleyville, TX 76034                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $166.65
          Old Dominion                                                          Contingent
          800 Craddock St                                                       Unliquidated
          Lynchburg, VA 24501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $108.00
          Olde Thompson Inc                                                     Contingent
          3250 Camino Del Sol                                                   Unliquidated
          Oxnard, CA 93030                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $766.31
          Oleary Group Waste Systems                                            Contingent
          1928 South Blvd Ste 310                                               Unliquidated
          Charlotte, NC 28203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,540.50
          Olympic Storage Company                                               Contingent
          21060 Network Pl                                                      Unliquidated
          Chicago, IL 60673-1210                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,229.57
          Omcan Food Machinery                                                  Contingent
          PO Box 91080                                                          Unliquidated
          Rochester, NY 14692-9180                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 67 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 72 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $478.52
          Omni Refrigeration Svcs Inc                                           Contingent
          2820 Breckenridge Ind Ct                                              Unliquidated
          St Louis, MO 63144                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,911.48
          Oneida                                                                Contingent
          75 Remittance Dr Ste 6152                                             Unliquidated
          Chicago, IL 60675-6152                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $600.00
          Orkin Llc                                                             Contingent
          PO Box 1135                                                           Unliquidated
          Kenner, LA 70063                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $63,964.68
          Oscartek                                                              Contingent
          361 367 Beach Rd                                                      Unliquidated
          Burlingame, CA 94010                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $56,763.00
          Ovention Inc                                                          Contingent
          Accounting                                                            Unliquidated
          PO Box 340500                                                         Disputed
          Milwaukee, WI 53234-0500
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $108.49
          Owens Equipment Company Inc                                           Contingent
          305 G Petty Rd                                                        Unliquidated
          Lawrenceville, GA 30043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $323.69
          Pacific Restaurant Supply                                             Contingent
          830 Kolu St                                                           Unliquidated
          Wailuku, Maui, HI 96793                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 68 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 73 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,142.82
          Paderno World Cuisine                                                 Contingent
          355 Michele Pl                                                        Unliquidated
          Carlstadt, NJ 07072                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $954.37
          Paragon Food Equipment                                                Contingent
          760 East Hastings St, Vancouver BC V6A 1                              Unliquidated
          CANADA                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9.72
          Paragon International                                                 Contingent
          PO Box 560                                                            Unliquidated
          Nevada, IA 50201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,147.50
          Paramount Tube                                                        Contingent
          PO Box 80400                                                          Unliquidated
          Fort Wayne, IN 46898-0400                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $381,431.25
          Patriot Foodservice Use Ppd Inv                                       Contingent
          PO Box 95003, Vancouver, BC V6P 6V4                                   Unliquidated
          CANADA                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,175.94
          Pepperdines                                                           Contingent
          790 Umatilla St                                                       Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,961.59
          Perlick                                                               Contingent
          PO Box 78499                                                          Unliquidated
          Milwaukee, WI 53278-0499                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 69 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 74 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,142.50
          Phoenix Metals Company                                                Contingent
          12420 Means Ct                                                        Unliquidated
          Charlotte, NC 28278                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,181.53
          Piper Products                                                        Contingent
          300 South 84th Ave                                                    Unliquidated
          Wausau, WI 54401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $55,972.66
          Pitco                                                                 Contingent
          2485 Paysphere Cir                                                    Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $530.30
          Pitney Bowes Postage By Phone                                         Contingent
          PO Box 371874                                                         Unliquidated
          Pittsburgh, PA 15250-7874                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $558.51
          Planetary Design Llc                                                  Contingent
          4685 Expwy                                                            Unliquidated
          Missoula, MT 59808                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $3,534,663.09
          Pmp Capital                                                           Contingent
          826 Focis St                                                          Unliquidated
          Metairie, LA 70005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,212.80
          Power Utility Products                                                Contingent
          PO Box 668284                                                         Unliquidated
          Charlotte, NC 28266                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 70 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 75 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $30,811.20
          Powersoak                                                             Contingent
          Unified Brands                                                        Unliquidated
          PO Box 91570                                                          Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $17,377.54
          Prairie View Industries                                               Contingent
          2620 Industrial Dr                                                    Unliquidated
          Fairbury, NE 68352-0575                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $240.77
          Premium Supply Co                                                     Contingent
          960 Grand Blvd                                                        Unliquidated
          Deer Park, NY 11729                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $19.95
          Price Davis                                                           Contingent
          PO Box 190 3882 East Hwy 27                                           Unliquidated
          Iron Station, NC 28080                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $300.00
          Pride Marketing And Procurement Inc                                   Contingent
          826 Focis St Ste 200                                                  Unliquidated
          Metairie, LA 70005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $46,106.12
          Pride Realty Group Iv                                                 Contingent
          826 Focis St                                                          Unliquidated
          Metairie, LA 70005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,953.68
          Procam Controls Inc                                                   Contingent
          2605 Technology Dr Bldg 300                                           Unliquidated
          Plano, TX 75074                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 71 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 76 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $564.72
          Professional Plastics                                                 Contingent
          Dept La 23218                                                         Unliquidated
          Pasadena, CA 91185-3218                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $889.67
          Pronto Products Company                                               Contingent
          1801 W Olympic Blvd                                                   Unliquidated
          Padadena, CA 91199                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $373.32
          Psnc Energy                                                           Contingent
          PO Box 100256                                                         Unliquidated
          Columbia, SC 29202-3256                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $251.68
          Qbr Refrigeration American Ice Machines                               Contingent
          30083 Highway 90                                                      Unliquidated
          Katy, TX 77493                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $721.26
          R And L Carriers                                                      Contingent
          PO Box 10020                                                          Unliquidated
          Port William, OH 45164-2000                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $595.00
          R And L Truckload Svcs Llc                                            Contingent
          Bofa Lock Box 74008195                                                Unliquidated
          Chicago, IL 60674-8195                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          R2 Advisors Llc                                                       Contingent
          1350 17th St Ste 206                                                  Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 72 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 77 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,781.40
          Rancilio North America Inc                                            Contingent
          1340 Internationale Pkwy #200                                         Unliquidated
          Woodridge, IL 60517                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $67,879.22
          Rational Usa Inc                                                      Contingent
          1701 Golf Rd Ste C 120 Commercium                                     Unliquidated
          Rolling Meadows, IL 60008                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,418.04
          Raymond Leasing Corp                                                  Contingent
          PO Box 301590                                                         Unliquidated
          Dallas, TX 75303-1590                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,751.31
          Redco Foodservice Equipment Llc                                       Contingent
          220 Hardman Ave S South                                               Unliquidated
          St Paul, MN 55075                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,116.00
          Refrigeration Design Technologies Inc                                 Contingent
          PO Box 622 1808 Fm Rd 66                                              Unliquidated
          Waxahachie, TX 75168                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,648.16
          Rem Restaurant Equipment Market Llc                                   Contingent
          3639 Presidential Pkwy                                                Unliquidated
          Atlanta, GA 30340                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $24.04
          Remco                                                                 Contingent
          995 Yeager Pkwy                                                       Unliquidated
          Pelham, AL 35124                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 73 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 78 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,662.88
          Rest Equipco Of Savannah                                              Contingent
          2601 Whitaker St                                                      Unliquidated
          Savannah, GA 31401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $119.95
          Restaurant Equipment Gallery                                          Contingent
          PO Box 608                                                            Unliquidated
          Broadway, NJ 08808                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $904.68
          Restaurant Mega Mart Llc                                              Contingent
          1392 Conant St                                                        Unliquidated
          Maumee, OH 43537                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $170.16
          Revol                                                                 Contingent
          4625 Alexander Dr Ste 170                                             Unliquidated
          Alpharetta, GA 30022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $540.42
          Richard's Restaurant Supply Inc                                       Contingent
          235 South Hollywood Rd                                                Unliquidated
          Houma, LA 73060                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $422.82
          River Parish Disposal Llc                                             Contingent
          PO Box 10482                                                          Unliquidated
          New Orleans, LA 70181-0482                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $438.40
          Rizzi Distributors Inc                                                Contingent
          689 S Arlington St                                                    Unliquidated
          Akron, OH 44306                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 74 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 79 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $29,302.87
          Robot Coupe                                                           Contingent
          PO Box 16625                                                          Unliquidated
          Jackson, MS 39236-6625                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $202.50
          Rochowswirl Mixer Co Inc                                              Contingent
          PO Box 10405 1900 University Ave                                      Unliquidated
          Rochester, NY 14610-0405                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,511.08
          Rocket Rest Resource                                                  Contingent
          2940 7th St                                                           Unliquidated
          Berkeley, CA 94710                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $42.96
          Rocky Mountain Cookware                                               Contingent
          PO Box 6936 202 F Ave Ne                                              Unliquidated
          Harlowton, MT 59036                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $842.29
          Rose's Equipment And Supply Inc                                       Contingent
          207 Se Clay St                                                        Unliquidated
          Portland, OR 97214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,700.00
          Rosito Bisani Imports Inc                                             Contingent
          940 S La Brea Ave                                                     Unliquidated
          Los Angeles, CA 90036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $294.98
          Rosseto                                                               Contingent
          8707 Skokie Blvd Ste 205                                              Unliquidated
          Skokie, IL 60077-2272                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 75 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 80 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,879.39
          Royal Industries                                                      Contingent
          4100 W Victoria St                                                    Unliquidated
          Chicago, IL 60646                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $73.96
          Royal Paper Products                                                  Contingent
          PO Box 62824                                                          Unliquidated
          Baltimore, MD 21264-2824                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,716.26
          Rpi Industries Inc                                                    Contingent
          220 Route 70                                                          Unliquidated
          Medford, NJ 08055                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $873.25
          Rsi Partners Llc                                                      Contingent
          2901 E Randol Mill Rd                                                 Unliquidated
          Arlington, TX 76011                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,734.84
          Ryder Transportation                                                  Contingent
          PO Box 96723                                                          Unliquidated
          Chicago, IL 60693-6723                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,778.30
          S3 Hospitality                                                        Contingent
          2080 West Cornell Ave                                                 Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $174.26
          Sabic Polymershapes                                                   Contingent
          5600 Jefferson Hwy W3 Ste 284                                         Unliquidated
          Harahan, LA 70123                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 76 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 81 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $810.00
          Safeway Moving Systems                                                Contingent
          2828 N Emerson Ave                                                    Unliquidated
          Indianapolis, IN 46218                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,750.77
          Salvajor                                                              Contingent
          4530 East 75th Ter                                                    Unliquidated
          Kansas City, MO 64132                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,740.00
          San Aire Inc                                                          Contingent
          101 West Felix St                                                     Unliquidated
          Fort Worth, TX 76115                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,294.49
          San Diego Rest Supply                                                 Contingent
          1202 Market St                                                        Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,082.77
          San Jamar Chef Revival                                                Contingent
          Dba San Jamar                                                         Unliquidated
          PO Box 83179                                                          Disputed
          Chicago, IL 60691-0179
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $550,793.81
          Scotsman                                                              Contingent
          775 Corporate Woods Pkwy                                              Unliquidated
          Vernon Hills, IL 60661                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,048.11
          Seattle Restaurant Store Inc                                          Contingent
          14910 Aurora Ave N                                                    Unliquidated
          Shoreline, WA 98133                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 77 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 82 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $18,540.42
          Select Stainless Products                                             Contingent
          PO Box 1129                                                           Unliquidated
          Clayton, DE 19938                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $534.15
          Sephra                                                                Contingent
          11035 Technology Pl Ste 100                                           Unliquidated
          San Diego, CA 92127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $654.12
          Serv Ware                                                             Contingent
          Dba Cannoware Products                                                Unliquidated
          4684 Hwy 70                                                           Disputed
          West Kinston, NC 28504
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $85.87
          Servco Equipment Company                                              Contingent
          3189 Jamieson Ave                                                     Unliquidated
          St Louis, MO 63139                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $87.00
          Service Ideas                                                         Contingent
          Nw 5876 PO Box 1450                                                   Unliquidated
          Minneapolis, MN 55485-5876                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $662.24
          Session Fixture                                                       Contingent
          6044 Lemay Ferry Rd                                                   Unliquidated
          St. Louis, MO 63129                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $119.56
          Shepherd Food Equipment                                               Contingent
          8435 Endicott Ln                                                      Unliquidated
          Dallas, TX 75227                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 78 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 83 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,070.00
          Somerset Industries                                                   Contingent
          1 Esquire Rd                                                          Unliquidated
          North Billerica, MA 01862                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $148,951.67
          Southbend                                                             Contingent
          Pam Miller                                                            Unliquidated
          1100 Old Honeycutt Rd                                                 Disputed
          Fuquay Varina, NC 27526
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,539.35
          Southern Commercial Products                                          Contingent
          5816 River Oaks Rd                                                    Unliquidated
          South Harahan, LA 70123                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,682.51
          Southern Ice Equipment                                                Contingent
          PO Box 62208                                                          Unliquidated
          Lafayette, LA 70596-2208                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $23,805.81
          Southern Stainless                                                    Contingent
          1400 Hopeman Pkwy                                                     Unliquidated
          Waynesboro, VA 22980-1948                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $198.72
          Southwest Glassware                                                   Contingent
          7521 N I 10 Frontage Rd                                               Unliquidated
          Tucson, AZ 85743                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $430.14
          Southwest Mobile Storage Denver                                       Contingent
          902 S 7th St                                                          Unliquidated
          Phoenix, AZ 85034                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 79 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 84 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $321.75
          Spaceman Llc                                                          Contingent
          PO Box 561126                                                         Unliquidated
          Charlotte, NC 28256-1126                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,310.38
          Spaceman Usa                                                          Contingent
          4699 Nautilus Ct S Ste 100                                            Unliquidated
          Boulder, CO 80301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,701.34
          Spg                                                                   Contingent
          Dept Ch 19355                                                         Unliquidated
          Palatine, IL 60055-9355                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,737.86
          Spill Stop                                                            Contingent
          1509 W Lemoyne Ave                                                    Unliquidated
          Melrose Park, IL 60160                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,192.44
          Spokane Restaurant Equipment Inc                                      Contingent
          1750 E Trent Ave                                                      Unliquidated
          Spokane, WA 99202                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $28,189.80
          Stainless Concepts Llc                                                Contingent
          6077 N Travel Center Dr                                               Unliquidated
          Tuscon, AZ 85741                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,690.25
          Star Manufacturing International Inc                                  Contingent
          PO Box 60151                                                          Unliquidated
          St Louis, MO 63160-0151                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 80 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 85 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $254.88
          State Of North Carolina Eproc                                         Contingent
          PO Box 752167                                                         Unliquidated
          Charlotte, NC 28275-2167                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $13,835.84
          Steelite International                                                Contingent
          154 Keystone Dr                                                       Unliquidated
          New Castle, PA 16105                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $714.41
          Stepsa Usa Llc                                                        Contingent
          8505 Technology Forest Pl Ste 802                                     Unliquidated
          The Woodlands, TX 77381                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $915.10
          Sterling                                                              Contingent
          236 Stephanie Ln                                                      Unliquidated
          Covington, LA 70435                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,894.00
          Sterno Candle Lamp                                                    Contingent
          Dept 3360                                                             Unliquidated
          Los Angeles, CA 90084-3360                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $828.62
          Strategic Equipment And Supply                                        Contingent
          PO Box 654020                                                         Unliquidated
          Dallas, TX 75265-4020                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $1,000,000.00
          Strickler                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 81 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 86 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $52,417.13
          Structural Concepts                                                   Contingent
          888 Porter Rd                                                         Unliquidated
          Muskegon, MI 49441                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $23,958.55
          Summit Appliance                                                      Contingent
          770 Garrison Ave                                                      Unliquidated
          Bronx, NY 10474                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,319.59
          Sunbelt Rentals Inc                                                   Contingent
          PO Box 409211                                                         Unliquidated
          Atlanta, GA 30384-9211                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,255.92
          Sunflower Restaurant Supply Inc                                       Contingent
          1647 Sunflower Ln                                                     Unliquidated
          Salina, KS 67401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $272.44
          Sunkist                                                               Contingent
          5818 Collections Center Dr                                            Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,033.40
          Supplyworks Northern Colorado Paper                                   Contingent
          PO Box 2317                                                           Unliquidated
          Jackonsville, FL 32203-2317                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $11.15
          Supreme Fixture Company                                               Contingent
          11900 Vimy Ridge                                                      Unliquidated
          Little Rock, AR 72219                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 82 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 87 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,880.74
          Supreme Restaurant Equipement Inc                                     Contingent
          7917 Old Lee Hwy                                                      Unliquidated
          Ooltewah, TN 37363                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Susan Davia                                                           Contingent
          c/o Gregory Sheffer, Esq.
                                                                                Unliquidated
          81 Throckmorton Ave., Ste. 202
          Mill Valley, CA 94941                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    nuisance claim
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,789.81
          Swanson Girard Distributing                                           Contingent
          10420 Sourthern Loop Blvd                                             Unliquidated
          Pineville, NC 28134                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $24,906.08
          Swift Transportation                                                  Contingent
          PO Box 29243                                                          Unliquidated
          Phoenix, AZ 85038                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $62,328.40
          T And S Brass And Bronze Works Inc                                    Contingent
          PO Box 601161                                                         Unliquidated
          Charlotte, NC 28260-1161                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,935.86
          Tablecraft                                                            Contingent
          7008 Reliable Pkwy                                                    Unliquidated
          Chicago, IL                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $159.96
          Tablemate                                                             Contingent
          851 E State Pkwy                                                      Unliquidated
          Schaumburg, IL 60173                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 83 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 88 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $67.37
          Tabletop Classics                                                     Contingent
          Box 150 1030a Stafford St                                             Unliquidated
          Rochdale, MA 01542                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,198.78
          Tarrison Products                                                     Contingent
          2780 Coventry Rd, L6H 6R1                                             Unliquidated
          CANADA                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $483.60
          Taylor Precision Products                                             Contingent
          PO Box 71933                                                          Unliquidated
          Chicago, IL 60694-1933                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,607.50
          Tee Logistics                                                         Contingent
          PO Box 561126                                                         Unliquidated
          Charlotte, NC 28256                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $42,823.50
          The Montague Company                                                  Contingent
          PO Box 45025                                                          Unliquidated
          San Francisco, CA 94145                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,967.10
          The Restaurant Store                                                  Contingent
          1111 Eaton St                                                         Unliquidated
          Key West, FL 33040                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,113.73
          Thermodyne Food Svcs Products Inc                                     Contingent
          4418 New Haven Ave                                                    Unliquidated
          Fort Wayne, IN 46803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 84 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 89 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $115.00
          Thornburg Machine Llc                                                 Contingent
          1699 Smith Farm Rd PO Box 981                                         Unliquidated
          Lincolnton, NC 28092                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $650.55
          Thorpe Rolling Pin Company                                            Contingent
          336 Putman Ave PO Box 4282                                            Unliquidated
          Hamden, CT 06514                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,661.63
          Thunder Group                                                         Contingent
          12333 B Sowden Rd                                                     Unliquidated
          Houston, TX 70080                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,218.00
          Thunderbird Food Machinery Inc                                        Contingent
          4602 Brass Way                                                        Unliquidated
          Dallas, TX 75236                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $27,747.74
          Titan Stainless                                                       Contingent
          7000 Regent Pkwy Ste 108                                              Unliquidated
          Fort Mill, SC 29715                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $45,136.93
          Titan Ventures International Inc                                      Contingent
          170 Millennium Blvd, Moncton, NB E1E 2G8                              Unliquidated
          CANADA                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,768.05
          Tmi International Llc                                                 Contingent
          5350 Campbells Run Rd                                                 Unliquidated
          Pittsburgh, PA 15205-9738                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 85 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 90 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,055.03
          Tomlinson Industries                                                  Contingent
          PO Box 92208                                                          Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,418.66
          Town Food Svcs                                                        Contingent
          72 Beadel St                                                          Unliquidated
          Brooklyn, NY 11222                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $58,236.91
          Traulsen Equipment                                                    Contingent
          Hobart Feg                                                            Unliquidated
          PO Box 3563                                                           Disputed
          Carol Stream, IL 60132-3563
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $537.00
          Trawicki Electric Inc                                                 Contingent
          N70w25156 Indian Grass Ln #c                                          Unliquidated
          Sussex, WI 53089                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $212.21
          Trellis Earth Products Inc                                            Contingent
          13315 Ne Airport Way Ste 800                                          Unliquidated
          Portland, OR 97230                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,458.49
          Tri City Equip Company Inc                                            Contingent
          527 West 4th St                                                       Unliquidated
          Davenport, IA 52801                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $795.73
          Triad Mechanical Contractors Inc                                      Contingent
          PO Box 31518                                                          Unliquidated
          Charleston, SC 29417                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 86 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 91 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,833.26
          True Food Svcs Equipment Inc                                          Contingent
          Department 456139 PO Box 790100                                       Unliquidated
          St Louis, MO 63179-0100                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,241.66
          True Temp Inc                                                         Contingent
          6210 Covey Court                                                      Unliquidated
          Floyd Knobs, IN 47119                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,539.83
          Tucker Safety Products                                                Contingent
          PO Box 732573                                                         Unliquidated
          Dallas, TX 75373-2573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $106,362.60
          Turbo Air                                                             Contingent
          4184 Conant St                                                        Unliquidated
          Long Beach, CA 90808                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $21,663.73
          Turbochef                                                             Contingent
          2801 Trade Center Dr                                                  Unliquidated
          Carrollton, TX 75007                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,867.82
          Tuxton China Inc                                                      Contingent
          21011 Commerce Pointe Dr                                              Unliquidated
          Walnut, CA 91789                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,398.00
          U Line Corp                                                           Contingent
          33106 Collection Center Dr                                            Unliquidated
          Chicago, IL 60693-0331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 87 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 92 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $777.78
          Uline                                                                 Contingent
          Accounts Receivable                                                   Unliquidated
          PO Box 88741                                                          Disputed
          Chicago, IL 60680-1741
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $55,175.06
          Ultrafryer Systems Inc                                                Contingent
          PO Box 5369                                                           Unliquidated
          San Antonio, TX 78201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $66,006.64
          Unisource Worldwide Inc                                               Contingent
          Unisource Lenexa                                                      Unliquidated
          PO Box 849089                                                         Disputed
          Dallas, TX 75284-9089
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $541.37
          Unite Private Networks Llc                                            Contingent
          120 S Stewart Rd                                                      Unliquidated
          Liberty, MO 64068                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $52.51
          United Refrigeration Inc                                              Contingent
          PO Box 677036                                                         Unliquidated
          Dallas, TX 75267-7036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,592.08
          United Restaurant Equipment Co Inc                                    Contingent
          1 Executive Park Dr                                                   Unliquidated
          North Billerica, MA 01862                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $488.80
          United States Dinnerware Inc                                          Contingent
          PO Box 568                                                            Unliquidated
          Port Gibson, MS 39150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 88 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 93 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $18,872.46
          Univex                                                                Contingent
          3 Old Rockingham Rd                                                   Unliquidated
          Salem, NH 03079                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $300,779.06
          Update International                                                  Contingent
          5801 Boyle Ave                                                        Unliquidated
          Los Angeles, CA 90058                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $194,682.51
          Ups                                                                   Contingent
          PO Box 7247 0244                                                      Unliquidated
          Philadelphia, PA 19170-0001                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $44,284.06
          Ups Freight                                                           Contingent
          28013 Network Pl                                                      Unliquidated
          Chicago, IL 60673-1280                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $48.00
          Us Healthworks                                                        Contingent
          PO Box 742556                                                         Unliquidated
          Atlanta, GA 30374                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $52,527.69
          Usf Holland                                                           Contingent
          27052 Network Pl                                                      Unliquidated
          Chicago, IL 60673-1270                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,796.80
          Usf Reddaway                                                          Contingent
          PO Box 1300                                                           Unliquidated
          Tualatin, OR 97062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 89 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 94 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,252.65
          Utility Refrigerator                                                  Contingent
          PO Box 570782                                                         Unliquidated
          Tarzana, CA 91357-0782                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,090.16
          Vertex China                                                          Contingent
          1793 West 2nd St                                                      Unliquidated
          Pomona, CA 91766                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,871.49
          Victorinox Swiss Army                                                 Contingent
          PO Box 845362                                                         Unliquidated
          Boston, MA 02284-5362                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $29,429.74
          Victory Refrigeration                                                 Contingent
          110 Woodcrest Rd                                                      Unliquidated
          Cherryhill, NJ 08003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $380.25
          Villeroy And Boch                                                     Contingent
          PO Box 1195                                                           Unliquidated
          New York, NY 10268-1195                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $26,028.66
          Vitamix                                                               Contingent
          8615 Usher Rd                                                         Unliquidated
          Cleveland, OH 44138                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $117,039.04
          Vollrath Company Llc                                                  Contingent
          75 Remittance Dr Ste 3022                                             Unliquidated
          Chicago, IL 60675-3022                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 90 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 95 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $231,027.07
          Vulcan Hart                                                           Contingent
          PO Box 905254                                                         Unliquidated
          Charlotte, NC 28290-5254                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $293.75
          Waco Hotel Supply Inc                                                 Contingent
          308 Lake Air Dr                                                       Unliquidated
          Waco, TX 76714                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $25,077.24
          Walco Stainless                                                       Contingent
          820 Noyes St PO Box 10527                                             Unliquidated
          Utica, NY 13503-1527                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,095.80
          Waller Logistics Inc                                                  Contingent
          PO Box 872835                                                         Unliquidated
          Kansas City, MO 64187-2835                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,173.96
          Walsh And Simmons Seating                                             Contingent
          2511 Iowa St                                                          Unliquidated
          St. Louis, MO 63104-2392                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $96.91
          Ward Trucking                                                         Contingent
          PO Box 1553                                                           Unliquidated
          Altoona, PA 16603                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $261.06
          Warehouse Restaurant Equip Inc                                        Contingent
          995 N Military Ave                                                    Unliquidated
          Green Bay, WI 54303                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 91 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 96 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $819.54
          Waring Conair Corp                                                    Contingent
          PO Box 932059                                                         Unliquidated
          Atlanta, GA 31193-2059                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,525.00
          Warren Llc                                                            Contingent
          PO Box 1225                                                           Unliquidated
          Kenner, LA 70063-1225                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $33.45
          Waxie Sanitary Supply                                                 Contingent
          PO Box 60227                                                          Unliquidated
          Los Angeles, CA 90060-0227                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,765.41
          Wells Bloomfield                                                      Contingent
          PO Box 60151                                                          Unliquidated
          St Louis, MO 63160                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $267.51
          Wells Fargo Equipment Finance                                         Contingent
          Manufacturer Svcs Group                                               Unliquidated
          PO Box 7777                                                           Disputed
          San Francisco, CA 94120-7777
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $426.20
          Westerman Hattori Daniels And Adrian Llp                              Contingent
          1250 Connecticut Ave Nw Ste 700                                       Unliquidated
          Washington, DC 20036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $588.00
          Wex Bank                                                              Contingent
          PO Box 6293                                                           Unliquidated
          Carol Stream, IL 60197-6293                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 92 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 97 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $230.83
          Whaley Parts And Supply                                               Contingent
          PO Box 890962                                                         Unliquidated
          Charlotte, NC 28289-0962                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,571.09
          Whitehead Food Equipment                                              Contingent
          106 Ne 24th St                                                        Unliquidated
          Oklahoma City, OK 73105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,410.49
          Wholesale Supply Inc                                                  Contingent
          PO Box 535                                                            Unliquidated
          Longview, TX 75606                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,036.37
          Wilbur Curtis Company Inc                                             Contingent
          PO Box 809092                                                         Unliquidated
          Chicago, IL 60680-9092                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,107.00
          Will Go Transport Inc                                                 Contingent
          145 Thomas Ln                                                         Unliquidated
          Cleveland, NC 27013                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,569.52
          Wilson Restaurant Equipment Inc                                       Contingent
          137 Hibbard Rd                                                        Unliquidated
          Horseheads, NY 14845                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,950.54
          Win Holt Equipment Group                                              Contingent
          7028 Snowdrift Rd Ste 100                                             Unliquidated
          Allentown, PA 18106                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 93 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
          Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                               E and F
                                             Page 98 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,593.22
          Winco Ca                                                              Contingent
          12765 166th St                                                        Unliquidated
          Cerritos, CA 90703                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,589.46
          Winco Nj                                                              Contingent
          65 Industrial Rd                                                      Unliquidated
          Lodi, NJ 07644                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $288.84
          Winpro Solutions                                                      Contingent
          9738 Pflumm                                                           Unliquidated
          Lenexa, KS 66215                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $94.34
          Winston-salem Forsyth County                                          Contingent
          Inspections Division                                                  Unliquidated
          101 E 1st St #328                                                     Disputed
          Winston-salem, NC 27101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,706.00
          Wittco Foodservice                                                    Contingent
          PO Box 2459                                                           Unliquidated
          Carol Stream, IL 60132-2459                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,615.97
          Wna City Of Industry                                                  Contingent
          PO Box 643145                                                         Unliquidated
          Cincinatti, OH 45264-3145                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,619.20
          Wood Goods Industries Inc                                             Contingent
          407 South Duncan St                                                   Unliquidated
          Luck, WI 54853                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 94 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
           Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                                E and F
                                              Page 99 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                           Case number (if known)            16-11179
              Name

 3.656     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,149.85
           Xpo Logistics                                                        Contingent
           105 White Oak Ln                                                     Unliquidated
           Old Bridge, NJ 08857                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.657     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $144.32
           Yaffee Incorp                                                        Contingent
           1817 8th St                                                          Unliquidated
           Sacramento, CA 95814                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.658     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,764.00
           Yamato Corp                                                          Contingent
           6306 Eastwood Ct                                                     Unliquidated
           Mequon, WI 53092                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.659     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $18,883.00
           Yoshimasa Display                                                    Contingent
           108 Pico St                                                          Unliquidated
           Pomona, CA 91766                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.660     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,965.14
           Yrc Tx                                                               Contingent
           PO Box 730375                                                        Unliquidated
           Dallas, TX 75373-0375                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.661     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $446.69
           Zepole Restaurant Supply Co                                          Contingent
           506 E North Frontage Rd                                              Unliquidated
           Bolingbrook, IL 60440                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.662     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $39,013.24
           Zesto                                                                Contingent
           4575 Park Ave, Montreal, QC H2V 4E4                                  Unliquidated
           CANADA                                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 95 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
           Case 16-11179 Doc 82-8 Filed 06/22/16 Entered 06/22/16 13:59:08 Schedule D                                                           E and F
                                             Page 100 of 100
 Debtor       FoodServiceWarehouse.com, LLC                                                       Case number (if known)        16-11179
              Name


           Name and mailing address                                                              On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any
 4.1       Ariel DeFazio, Esq.
           Sweeney & Bechtold, LLC                                                               Line     3.407
           650 S. Cherry Street, Ste. 610
                                                                                                        Not listed. Explain
           Denver, CO 80246

 4.2       John Davis, Esq.
           The Davis Law Firm                                                                    Line     3.353
           5290 DTC Parkway, Ste. 150
                                                                                                        Not listed. Explain
           Greenwood Village, CO 80111

 4.3       Kerry M. Wisser, Esq.
           Weinstein & Wisser, P.C.                                                              Line     3.363
           29 South Main Street, Ste. 207
                                                                                                        Not listed. Explain
           West Hartford, CT 06107

 4.4       Thomas Waffenschmidt, Esq.
           The Waffenschmidt Law Firm                                                            Line     3.275
           811 South Market Street
                                                                                                        Not listed. Explain
           Williamsport, PA 17702


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.        $                         0.00
 5b. Total claims from Part 2                                                                       5b.    +   $                19,502,803.69

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.        $                   19,502,803.69




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 96 of 96
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
